USCA Case #22-1031     Document #1972107         Filed: 11/03/2022   Page 1 of 97



             ORALARGUMENTNOTYETSCHEDULED
                No. 22-1031 (and consolidated cases)

         In the United States Court of Appeals
          for the District of Columbia Circuit

                          STATE OF TEXAS, ET AL.,
                                           Petitioners,
                                    v.
    ENVIRONMENTAL PROTECTION AGENCY AND MICHAELS. REGAN, IN
         HIS OFFICIAL CAPACITY As ADMINISTRATOR OF THE U.S.
                ENVIRONMENTAL PROTECTION AGENCY,
                                           Respondents,
                     ADVANCED ENERGY ECONOMY, ET AL.,
                                           I ntervenors.

              On Petition for Review from the United States
                   Environmental Protection Agency
                      (No. EPA-HQ-OAR-2021-0208)

           INITIAL BRIEF FOR PRIVATE PETITIONERS

     ERIC D. MCARTHUR                      JEFFREY B. WALL
     DANIEL J. FEITH                       MORGAN L. RATNER
     JEREMY D. ROZANSKY†                   SULLIVAN & CROMWELL LLP
     SIDLEY AUSTIN LLP                     1700 New York Avenue NW
     1501 K Street NW                      Washington, DC 20006
     Washington, DC 20005                  (202) 956-7500
     (202) 736-8000                        wallj@sullcrom.com
     emcarthur@sidley.com
                                           Counsel for Valero Renewable
     Counsel for American Fuel &           Fuels Company, LLC
     Petrochemical
     Manufacturers and Energy              (Additional counsel listed on
     Marketers ofAmerica                   the following page)
USCA Case #22-1031   Document #1972107      Filed: 11/03/2022   Page 2 of 97



 C. BOYDEN GRAY                       MATTHEWW. MORRISON
 JONATHAN BERRY                       PILLSBURY WINTHROP SHAW
 MICHAEL B. BUSCHBACHER               PITTMANLLP
 BOYDEN GRAY & AsSOCIATES,            1200 17th Street NW
 PLLC                                 Washington, DC 20036
80117th Street NW, Suite 350          matthew.morrison@pillsburylaw.com
Washington, DC 20006
(317) 513-0622                        Counsel for Illinois Soybean
buschbacher@boydengray                Association, Iowa Soybean
associates.com                        Association, Indiana Soybean
                                      Alliance, Inc., Michigan Soybean
Counsel for Clean Fuels               Association, Minnesota Soybean
Development Coalition, ICM, Inc.,     Growers Association, North
Illinois Corn Growers Association,    Dakota Soybean Growers
Indiana Corn Growers                  Association, Ohio Soybean
Association, Kansas Corn Growers      Association, South Dakota
Association, Kentucky Corn            Soybean Association, and
Growers Association, Michigan         Diamond Alternative Energy,
Corn Growers Association,             LLC
Missouri Corn Growers
Association, and Valero Renewable     BRITTANY M. PEMBERTON
Fuels Company, LLC                    BRACEWELL LLP
                                      2001 M Street NW, Suite 900
 DEVIN WATKINS                        Washington, DC 20036
 COMPETITIVE ENTERPRISE               (202) 828-5800
 INSTITUTE                            brittany.pemberton@bracewell.com
1310LStreet,NW
Washington, DC 20005                  Counsel for Diamond Alternative
(202) 331-1010                        Energy, LLC, and Valero
devin.watkins@cei.org                 Renewable Fuels Company, LLC

 Counsel for Competitive Enterprise   †
                                       Admitted only in Illinois; pending
 Institute, Anthony Kreucher,         approval of application for
 Walter M. Kreucher, James Leedy,     admission to the D.C. Bar,
 Marc Scribner, and Domestic          practicing law in the District of
 Energy Producers Alliance            Columbia under the supervision of
                                      principals of the firm who are
                                      members in good standing of the
                                      D.C. Bar.
USCA Case #22-1031     Document #1972107        Filed: 11/03/2022   Page 3 of 97



 CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

      Pursuant to Circuit Rule 28, petitioners American Fuel & Petrochemical

Manufacturers, Clean Fuels Development Coalition, Competitive Enterprise

Institute, Diamond Alternative Energy, LLC, Domestic Energy Producers

Alliance, Energy Marketers of America, ICM, Inc., Illinois Corn Growers

Association, Illinois Soybean Association, Indiana Corn Growers Association,

Indiana Soybean Alliance, Inc., Iowa Soybean Association, Kansas Corn

Growers Association, Kentucky Corn Growers Association, Anthony

Kreucher, Walter M. Kreucher, James Leedy, Michigan Corn Growers

Association, Michigan Soybean Association, Minnesota Soybean Growers

Association, Missouri Corn Growers Association, North Dakota Soybean

Growers Association, Ohio Soybean Association, Marc Scribner, South Dakota

Soybean Association, and Valero Renewable Fuels Company, LLC

respectfully submit this Certificate as to Parties, Rulings, and Related Cases.

      A.    Parties

      Petitioners in Case No. 22-1031 are the State of Texas, State of Alabama,

State of Alaska, State of Arkansas, State of Indiana, State of Kentucky, State

of Louisiana, State of Mississippi, State of Missouri, State of Montana, State




                                       I
USCA Case #22-1031    Document #1972107        Filed: 11/03/2022   Page 4 of 97



of Nebraska, State of Ohio, State of Oklahoma, State of South Carolina, and

State of Utah.

     Petitioners 1n Case No. 22-1032 are the Competitive Enterprise

Institute, Anthony Kreucher, Walter M. Kreucher, James Leedy, Marc

Scribner, and the Domestic Energy Producers Alliance.

     Petitioners in Case No. 22-1033 are the Illinois Soybean Association,

Iowa Soybean Association, Indiana Soybean Alliance, Inc., Michigan Soybean

Association, Minnesota Soybean Growers Association, North Dakota Soybean

Growers Association, Ohio Soybean Association, South Dakota Soybean

Association, and Diamond Alternative Energy, LLC.

     Petitioner in Case No. 22-1034 is American Fuel & Petrochemical

Manufacturers.

     Petitioner in Case No. 22-1035 is the State of Arizona.

     Petitioners in Case No. 22-1036 are Clean Fuels Development Coalition,

ICM, Inc., Illinois Corn Growers Association, Indiana Corn Growers

Association, Kansas Corn Growers Association, Kentucky Corn Growers

Association, Michigan Corn Growers Association, Missouri Corn Growers

Association, and Valero Renewable Fuels Company, LLC.

     Petitioner in Case No. 22-1038 is Energy Marketers of America.



                                     11
USCA Case #22-1031     Document #1972107        Filed: 11/03/2022     Page 5 of 97



     Respondents are the U.S. Environmental Protection Agency and

Michael S. Regan in his official capacity as Administrator of the U.S.

Environmental Protection Agency.

     Intervenors on behalf of respondents are Advanced Energy Economy,

Alliance for Automotive Innovation, American Lung Association, Calpine

Corporation, City and County of Denver, City and County of San Francisco,

City of Los Angeles, City of New York, Clean Air Council, Clean Wisconsin,

Commonwealth      of   Massachusetts,      Commonwealth     of      Pennsylvania,

Conservation Law Foundation, District of Columbia, Environmental Defense

Fund, Environmental Law and Policy Center, National Coalition for

Advanced Transportation, National Grid USA, National Parks Conservation

Association, Natural Resources Defense Council, New York Power Authority,

Power Companies Climate Coalition, Public Citizen, Sierra Club, State of

California, State of Colorado, State of Connecticut, State of Delaware, State

of Hawaii, State of Illinois, State of Maine, State of Maryland, State of

Michigan, State of Minnesota, State of Nevada, State of New Jersey, State of

New Mexico, State of New York, State of North Carolina, State of Oregon,

State of Rhode Island, State of Vermont, State of Washington, State of

Wisconsin, and Union of Concerned Scientists.



                                     lll
USCA Case #22-1031     Document #1972107        Filed: 11/03/2022   Page 6 of 97



     Amici in this case include the State of West Virginia, Pacific Legal

Foundation, the National Federation of Independent Business, the Texas Oil

& Gas Association, and the Two Hundred for Housing Equity.

      B.    Rulings Under Review

      Under review is the final action of the Administrator of the United

States Environmental Protection Agency, entitled Revised 2023 and Later

Model Year Light-Duty Vehicle Greenhouse Gas Emissions Standards,

published in the Federal Register at 86 Fed. Reg. 74,434 (Dec. 30, 2021).

      C.    Related Cases

      Seven consolidated cases in the U.S. Court of Appeals for the District of

Columbia Circuit involve challenges to the agency action challenged here:

Texas v. EPA, No. 22-1031; Competitive Enterprise Institute v. EPA,

No. 22-1032; Illinois SoybeanAss'n. v. EPA, No. 22-1033; American Fuel &

Petrochemical Manufacturers v. EPA, No. 22-1034; Arizona v. EPA,

No. 22-1035; Clean Fuels Development Coalition v. EPA, No. 22-1036; and

Energy Marketers ofAmerica v. EPA, No. 22-1038.

      Three related cases challenge a related rule promulgated by the

National Highway Traffic Safety Administration: Natural Resources Defense




                                      IV
USCA Case #22-1031   Document #1972107    Filed: 11/03/2022   Page 7 of 97



Council v. NHTSA, No. 22-1080; Texas v. NHTSA, No. 22-1144; and

American Fuel & Petrochemical Manufacturers v. NHTSA, No. 22-1145.




                                   V
USCA Case #22-1031     Document #1972107      Filed: 11/03/2022   Page 8 of 97



               CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1 and D.C. Circuit

Rule 26.1, petitioners American Fuel & Petrochemical Manufacturers, Clean

Fuels Development Coalition, Competitive Enterprise Institute, Diamond

Alternative Energy, LLC, Domestic Energy Producers Alliance, Energy

Marketers of America, ICM, Inc., Illinois Corn Growers Association, Illinois

Soybean Association, Indiana Corn Growers Association, Indiana Soybean

Alliance, Inc., Iowa Soybean Association, Kansas Corn Growers Association,

Kentucky Corn Growers Association, Anthony Kreucher, Walter M.

Kreucher, James Leedy, Michigan Corn Growers Association, Michigan

Soybean Association, Minnesota Soybean Growers Association, Missouri Corn

Growers Association, North Dakota Soybean Growers Association, Ohio

Soybean Association, Marc Scribner, South Dakota Soybean Association, and

Valero Renewable Fuels Company, LLC hereby make the following

disclosures:

      American Fuel & Petrochemical Manufacturers is a national trade

association that represents American refining and petrochemical companies.

The Association has no parent corporation, and no publicly held company has

a 10% or greater ownership interest in it.



                                      VI
USCA Case #22-1031     Document #1972107        Filed: 11/03/2022   Page 9 of 97



      Clean Fuels Development Coalition is a business league organization

established in a manner consistent with Section 501(c)(6) of the Internal

Revenue Code.        Established in 1988, the Coalition works with auto,

agriculture, and biofuel interests in support of a broad range of energy and

environmental programs. It has no parent corporation, and no publicly held

company has a 10% or greater ownership interest in the Coalition.

      Competitive Enterprise Institute is a non-profit corporation organized

under the laws of the District of Columbia. CE I has no parent corporation, and

no publicly held company has a 10% or greater ownership interest in CEI.

      Diamond Alternative Energy, LLC, a Delaware limited liability

company, is a wholly owned direct subsidiary of Valero Energy Corporation,

a Delaware corporation whose common stock is publicly traded on the New

York Stock Exchange under the ticker symbol VLO.

      Domestic Energy Producers Alliance is a nonprofit, nonstock

corporation organized under the laws of the state of Oklahoma. The Alliance

has no parent corporation, and no publicly held company owns 10% or more of

its stock.

      Energy Marketers of America is a federation of 47 state and regional

trade associations representing energy marketers throughout the United
USCA Case #22-1031     Document #1972107          Filed: 11/03/2022   Page 10 of 97



States. It is incorporated under the laws of the Commonwealth of Virginia,

has no parent corporation, and no publicly held company has a 10% or greater

ownership interest in it.

      ICM, Inc. is a Kansas corporation that is a global leader in developing

biorefining capabilities, especially for the production of ethanol. It is a wholly

owned subsidiary of ICM Holdings, Inc., and no publicly held company has a

10% or greater ownership interest in ICM Holdings, Inc.

      Illinois Corn Growers Association is an agricultural organization. It

has no parent corporation, and no publicly held company has a 10% or greater

ownership interest in it.

      Illinois Soybean Association is a non-profit trade association within

the meaning of D.C. Circuit Rule 26.l(b). Its members are soybean farmers

and supporters of the agriculture and soybean industries. It operates for the

purpose of promoting the general commercial, legislative, and other common

interests of its members. The Illinois Soybean Association does not have a

parent corporation, it has no privately or publicly held ownership interests,

and no publicly held company has an ownership interest in it.




                                       Vlll
USCA Case #22-1031     Document #1972107        Filed: 11/03/2022   Page 11 of 97



      Indiana Corn Growers Association is an agricultural organization. It

has no parent corporation, and no publicly held company has a 10% or greater

ownership interest in it.

      Indiana Soybean Alliance, Inc. is a non-profit trade association within

the meaning of D.C. Circuit Rule 26.l(b). Its members are soybean farmers

and supporters of the agriculture and soybean industries. It operates for the

purpose of promoting the general commercial, legislative, and other common

interests of its members. Indiana Soybean Alliance, Inc. does not have a

parent corporation, it has no privately or publicly held ownership interests,

and no publicly held company has an ownership interest in it.

      Iowa Soybean Association is a non-profit trade association within the

meaning of D.C. Circuit Rule 26.l(b). Its members are soybean farmers and

supporters of the agriculture and soybean industries. It operates for the

purpose of promoting the general commercial, legislative, and other common

interests of its members. The Iowa Soybean Association does not have a

parent corporation, it has no privately or publicly held ownership interests and

no publicly held company has an ownership interest in it.




                                       IX
USCA Case #22-1031     Document #1972107       Filed: 11/03/2022   Page 12 of 97



      Kansas Corn Growers Association is an agricultural organization. It

has no parent corporation, and no publicly held company has a 10% or greater

ownership interest in it.

      Kentucky Corn Growers Association is an agricultural organization.

It has no parent companies, and no publicly held company has a 10% or greater

ownership interest in it.

      Anthony Kreucher is an individual residing in Michigan.

      Walter M. Kreucher is an individual residing in Michigan.

      James Leedy is an individual residing in Arizona.

      Michigan Corn Growers Association is an agricultural organization.

It has no parent companies, and no publicly held company has a 10% or greater

ownership interest in it.

      Michigan Soybean Association is a non-profit trade association within

the meaning of D.C. Circuit Rule 26.l(b). Its members are soybean farmers

and supporters of the agriculture and soybean industries. It operates for the

purpose of promoting the general commercial, legislative, and other common

interests of its members. The Michigan Soybean Association does not have a

parent corporation, it has no privately or publicly held ownership interests,

and no publicly held company has an ownership interest in it.



                                      X
USCA Case #22-1031     Document #1972107       Filed: 11/03/2022   Page 13 of 97



      The Minnesota Soybean Growers Association is a non-profit trade

association within the meaning of D.C. Circuit Rule 26.l(b). Its members are

soybean farmers, their supporters, and members of soybean industries. It

operates for the purpose of promoting the general commercial, legislative, and

other common interests of its members. The Minnesota Soybean Growers

Association is a not-for-profit corporation that is not a subsidiary of any

corporation and that does not have any stock which can be owned by a publicly

held corporation.

      Missouri Corn Growers Association is an agricultural organization. It

has no parent corporation, and no publicly held company has a 10% or greater

ownership interest in it.

      North Dakota Soybean Growers Association is a non-profit trade

association within the meaning of D.C. Circuit Rule 26.l(b). Its members are

soybean farmers, their supporters, and members of soybean industries. It

operates for the purpose of promoting the general commercial, legislative, and

other common interests of its members. The North Dakota Soybean Growers

Association is a not-for-profit corporation that is not a subsidiary of any

corporation and that does not have any stock which can be owned by a publicly

held corporation.



                                      XI
USCA Case #22-1031    Document #1972107        Filed: 11/03/2022   Page 14 of 97



      Ohio Soybean Association is a non-profit trade association within the

meaning ofD.C. Circuit Rule 26.l(b). Its members are soybean farmers, their

supporters, and members of soybean industries. It operates for the purpose

of promoting the general commercial, legislative, and other common interests

of its members. The Ohio Soybean Association is a not-for-profit corporation

that is not a subsidiary of any corporation and that does not have any stock

which can be owned by a publicly held corporation.

      Marc Scribner is an individual residing in the District of Columbia.

      The South Dakota Soybean Association is a non-profit trade

association within the meaning of D.C. Circuit Rule 26.l(b). Its members are

soybean farmers, their supporters, and members of soybean industries. It

operates for the purpose of promoting the general commercial, legislative, and

other common interests of its members.         The South Dakota Soybean

Association is a not-for-profit corporation, is not a subsidiary of any

corporation, and does not have any stock which can be owned by a publicly

held corporation.

      Valero Renewable Fuels Company, LLC, a Texas limited liability

company, is a wholly owned direct subsidiary of Valero Energy Corporation,




                                     XII
USCA Case #22-1031   Document #1972107     Filed: 11/03/2022   Page 15 of 97



a Delaware corporation whose common stock is publicly traded on the New

York Stock Exchange under the ticker symbol VLO.




                                  Xlll
USCA Case #22-1031                Document #1972107                      Filed: 11/03/2022            Page 16 of 97



                                       TABLE OF CONTENTS
                                                                                                                Page
GLOSSARY ......................................................................................................... :xxii
INTRODUCTION .................................................................................................. 1
JURISDICTIONAL STATEMENT ................................................................... .4
STATEMENT OF THE ISSUES ........................................................................ 4
STATUTES AND REGULATIONS .................................................................... 5
STATEMENT OF THE CASE ............................................................................ 5
I.       Statutory Background .................................................................................. 5
         A.       EPA's Standard-Setting Authority................................................... 5
         B.       Compliance, Enforcement, and Remediation .................................. 6
II.      Regulatory Background ............................................................................... 8
         A.       Greenhouse-Gas Standards ............................................................... 8
         B.       The Rule At Issue ............................................................................... 9
         C.       Fleetwide Averagi.ng ........................................................................ 11
         D.       Mandating Electric Vehicles ............................................................ 14
SUMMARY OF ARGUMENT ............................................................................ 16
STANDING ............................................................................................................ 20
STANDARD OF REVIEW ................................................................................. 21
ARGUMENT ......................................................................................................... 21
I.       EPA Lacks Statutory Authority To Set Greenhouse-Gas
         Emission Standards That Effectively Mandate Electric Vehicles ........ 21
         A.       EPA Must Show Clear Congressional Authorization To
                  Force Electrification ......................................................................... 22

                                                         XIV
USCA Case #22-1031         Document #1972107                             Filed: 11/03/2022                 Page 17 of 97



             1.      EPA claims a power of vast economic significance ............. 24
             2.      EPA claims a power of vast political significance ............... 28
             3.      EPA claims an unheralded power with staggering
                     implications .............................................................................. 34
      B.     EPA Lacks Clear Statutory Authority To Use Fleetwide
             Averaging To Mandate Electric Vehicles ...................................... 37
             1.      EPA may not set fleetwide-average standards ...................39
                     a.       Other provisions in Section 202 demonstrate that
                              emission standards may not be based on averaging ....
                               ............... ...... ...... ................... ...... ......................... ...... ..... 40

                     b.       Title II's compliance and enforcement provisions for
                              emission standards confirm that EPA cannot use
                              fleetwide averaging ...................................................... 43
                     c.       The broader text and history of Title II confirm that
                              the rule exceeds EPA's authority .............................. .47
                     d.       EPA's lack of authority for a credit-trading scheme
                              further confirms its lack of authority to set fleetwide
                              averages ......................................................................... 49

             2.      At a minimum, EPA may not use fleetwide averaging
                     to require electrification......................................................... 51
                     a.       The statutory text demonstrates Congress's focus on
                              technologically achievable emission controls ............ 52
                     b.       The statutory structure confirms Congress's focus on
                              technologically achievable emission controls ............ 58
                     c.       Related provisions confirm that Section 202(a) does
                              not authorize averaging of non-emitting electric
                              vehicles ........................................................................... 60
IL    EPA's Rule Is Arbitrary And Capricious ................................................. 62


                                                       xv
USCA Case #22-1031               Document #1972107                        Filed: 11/03/2022              Page 18 of 97



        A.       EPA Arbitrarily Calculated The Emissions Of Electric
                 Vehicles ............................................................................................... 62
        B.       EPA's Cost-Benefit Analysis Is Unsound ...................................... 64
                 1.       EPA arbitrarily assessed the benefits of the rule .............. 65
                 2.       EPA undercounted the costs of the rule .............................. 68
CONCLUSION ...................................................................................................... 70




                                                          XVI
USCA Case #22-1031               Document #1972107                      Filed: 11/03/2022            Page 19 of 97



                                   TABLE OF AUTHORITIES
                                                                                                           Page(s)
Cases:
   Action on Smoking & Health v. Depanment of Labor,
     100 F.3d 991 (D.C. Cir. 1996) ....................................................................... 21
   AlabamaAss'n of Realtors v. HHS,
       141 S. Ct. 2485 (2021) .............................................................................. 22, 23
   American Fuel & Petrochemical Mfrs. v. EPA,
     3 F .4th 373 (D.C. Cir. 2021) ......................................................................... 20
   American Pub. Gas Ass'n v. DOE,
       22 F.4th 1018 (D.C. Cir. 2022) ..................................................................... 67
   Barnhart; v. Thomas,
     540 U.S. 20 (2003) .......................................................................................... 55
   Competitive Enter. Inst. v. NHTSA,
       901 F.2d 107 (D.C. Cir. 1990)....................................................................... 20
   Delta Constr. Co. v. EPA,
     783 F .3d 1291 (D.C. Cir. 2015) ....................................................................... 9
   Epic Sys. Corp. v. Lewis,
       138 S. Ct. 1612 (2018) .................................................................................... 48
   FCC v. Prometheus Radio Project,
       141 S. Ct. 1150 (2021) .................................................................................... 64
   FDA v. Brown & Williamson Tobacco Corp.,
     529 U.S. 120 (2000) .................................................................................. 29, 33
   Hunt v. Washington State Apple Advert;. Comm'n,
       432 U .s. 333 (1977) ........................................................................................ 21
   Massachusetts v. EPA,
       549 U.S. 497 (2007) .......................................................................................... 8
   NationalAss'n of Home Builders v. EPA,
     682 F.3d 1032 (D.C. Cir. 2012) ..................................................................... 65
   National Shooting Sport;s Found., Inc. v. Jones,
       716 F.3d 200 (D.C. Cir. 2013) ....................................................................... 70



                                                        XVll
USCA Case #22-1031                Document #1972107                        Filed: 11/03/2022              Page 20 of 97



   NRDCv.EPA,
       655 F.2d 318 (D.C. Cir. 1981) ....................................................................... 56
   NRDCv.EPA,
    954 F .3d 150 (2d Cir. 2020) .......................................................................... 55
   NRDC v. Thomas,
     805 F.2d 410 (D.C. Cir. 1986) ................................................................. 51, 60
   Ohiov.EPA,
     No. 22-1081 (D.C. Cir.) ......................................................................... 1, 2, 37
   Robinson v. Shell Oil Co.,
       519 U .s. 337 (1997) ........................................................................................ 40
   Rotkiske v. Klemm,
     140 S. Ct. 355 (2019) ................................................................................ 41, 48
   SAS Inst., Inc. v. Iancu,
     138 S. Ct. 1348 (2018) .............................................................................. 48, 50
   Truck Trailers Mfrs. Ass'n v. EPA,
     17 F.4th 1198 (D.C. Cir. 2021) ..................................................................... 55
   U.S. Telecom Ass'n v. FCC,
     855 F.3d 381 (D.C. Cir. 2017) ....................................................................... 28
   United Techs. Corp. v. U.S. Dep't ofDef.,
     601 F.3d 557 (D.C. Cir. 2010) ....................................................................... 69
   Utility Air Regul. Grp. v. EPA,
     573 U.S. 302 (2014) ................................................................ 22, 28, 33, 34, 43
   West Virginia v. EPA,
     142 S. Ct. 2587 (2022) ........................... 3, 4, 16, 17, 22, 23, 24, 25, 28, 29, 30,
     ............................................................. 31, 32, 33, 34, 36, 37, 38, 39, 52, 57, 58
Statutes:
   5 u.s.c.
      § 706 .......................................................................................................... 21, 62




                                                          xvm
USCA Case #22-1031                  Document #1972107                        Filed: 11/03/2022              Page 21 of 97



   42   u.s.c.
        §7411 .............................................................................................................. 58
        § 7521 ............................................... 2, 4, 5, 6, 18, 39, 40 41, 42, 43, 53, 58, 59
        § 7525 .............................................................................................. 7, 41, 44, 45
        § 7541 ............................................................................................ 6, 7, 8, 46, 47
        § 7545 .................................................................................................. 34, 48, 50
        § 7581 ........................................................................................................ 60, 61
        § 7582 .............................................................................................................. 60
        § 7586 ........................................................................................................ 50, 61
        § 7602 .............................................................................................................. 45
        § 7607 .......................................................................................................... 4, 21
   49   u.s.c.
        § 32902 .................................................................................... 2, 8, 9, 35, 48, 61
   Clean Air Act Amendments of 1970,
     Pub. L. No. 91-601, 84 Stat. 1676 (1970) .................................................... .49
   Clean Air Act Amendments of 1990,
     Pub. L. No. 101-549, 104 Stat. 2399 (1990) ................................................ 60
   Energy Policy Act of 1992,
     Pub. L. No. 102-486, 106 Stat. 2776 ............................................................ 61
   Infrastructure Investment and Jobs Act of 2021,
     Pub. L. No. 117-58, 135 Stat. 429 ................................................................ 29
   Inflation Reduction Act of 2022,
      Pub. L. No. 117-169, 136 Stat. 1818 ............................................................ 33
   2022 W. Va. Legis. Ch. 235 ............................................................................... 29
Regulations:
   40 C.F.R.
      § 86.1818-12 .................................................................................. 11, 12, 14, 45
      § 86.1865-12 .................................................................................................... 40
      § 86.1866-12 .......................................................................................... 6, 43, 59

   48 Fed. Reg. 33,456 (July 21, 1983) ........................................................... 38, 40
   54 Fed. Reg. 22,652 (May 25, 1989) ..................................................... 38, 40, 50
   55 Fed. Reg. 30,584 (July 26, 1990) ................................................................. 38
   58 Fed. Reg. 51,735 (Oct. 4, 1993).................................................................... 67


                                                             XlX
USCA Case #22-1031                Document #1972107                        Filed: 11/03/2022              Page 22 of 97



   74 Fed. Reg. 66,496 (Dec. 15, 2009) ................................................................... 8
   75 Fed. Reg. 25,324 (May 7, 2010) ..................................................................... 9
   77 Fed. Reg. 62,624 (Oct. 15, 2012) .............................................................. 9, 35
   84 Fed. Reg. 51,310 (Sept. 27, 2019) .................................................................. 9
   85 Fed. Reg. 24,174 (Apr. 30, 2020) ............................................................. 9, 15
   86 Fed. Reg. 43,583 (Aug. 5, 2021) .............................................................. 1, 10
   86 Fed. Reg. 43,726 (Aug. 10, 2021) .................................................................. 9
   86 Fed. Reg. 49,602 (Sept. 3, 2021) .................................................................. 30
   86 Fed. Reg. 74,434 (Dec. 30, 2021) ........................ 4, 10, 12, 14, 15, 20, 24, 26,
      ..................................................................................... 36, 57, 60, 63, 64, 65, 68
   87 Fed. Reg. 39,600 (July 1, 2022) ................................................................... 34
   Cal. Code Regs. Tit. 13, § 1962.4 ..................................................................... 29
Congressional Materials:
   116 Cong. Rec. 19238-40 (1970) ........................................................................ 32
   H.R. Rep. No. 91-1146 (1970) ........................................................................... 49
   Zero-Emission Vehicles Act of 2019, H.R. 2764, 116th Cong.
     (2019) .............................................................................................................. 32
   Zero-Emission Vehicles Act of 2018, S. 3664, 115th Cong. (2018) ............... 32
Other Authorities:
   Climate 21 Proj ., Transition Memo: Environmental Protection
     Agency (2021) ................................................................................................ 10
   Agricultural Retailers Ass'n, Economic Impacts to U.S.
       Biofuels, Agriculture, and the Economy from Subsidized
       Electric Vehicle Penetration (Oct. 2020) ................................................... 28
   Jim Barrett & Josh Bivens, The Stakes for Workers in How
       Policymakers Manage the Coming Shift to All-Electric
       Vehicles, Economic Policy Inst. (Sept. 22, 2021) ....................................... 27
   EPA, Regulatory Impact Analysis for the Clean Power Plan
     Final Rule ...................................................................................................... 36




                                                           xx
USCA Case #22-1031            Document #1972107                  Filed: 11/03/2022         Page 23 of 97



   EPA, EPA Finalizes Greenhouse Gas Standards for Passenger
     Vehicles, Paving Way for a Zero-Emissions Future (Dec. 20,
     2021), https://bit.ly/3wJFsTD ...................................................................... 36
   International Energy Agency, The Role of Critical Minerals in
      Clean Energy Transitions (Mar. 2022) ..................................................... 31
   Antonin Scalia & Bryan Garner, Reading Law: The
     Interpretation of Legal Texts (2012) ......................................................... .41
   Short-Term Energy Outlook (Sept. 7, 2022),
     https://www.eia.gov/outlooks/steo ............................................................... 69
   Carlos Waters, How Electric Vehicle Manufacturing Could
     Shrink the Midwestern Job Market, CNBC.com (Sept. 4,
     2022), https://www.cnbc.com/2022/09/04/ev-manufacturing-
     may-shrink-us-midwest-auto-parts-trade.html ........................................ 27
   Watten et al., Attribute Production and Technical Change:
    Rethinking the Performance and Fuel Economy Trade-off
    for Light-Duty Vehicles, Working Paper (2021) ....................................... 68




                                                   XXI
USCA Case #22-1031   Document #1972107      Filed: 11/03/2022   Page 24 of 97



                              GLOSSARY
EPA                   U.S. Environmental Protection Agency

NHTSA                 National Highway Traffic Safety Administration




                                  XXII
USCA Case #22-1031      Document #1972107          Filed: 11/03/2022    Page 25 of 97



                                INTRODUCTION
      The Environmental Protection Agency (EPA) and National Highway

Traffic Safety Administration (NHTSA) are on a mission to phase out the

internal-combustion engine and electrify the Nation's vehicle fleet. Last year,

President Biden announced his administration's "goal that 50 percent of all

new passenger cars and light trucks sold in 2030 be zero-emission vehicles,

including battery electric, plug-in hybrid electric, or fuel cell electric vehicles."

86 Fed. Reg. 43,583, 43,583 (Aug. 5, 2021). Achieving that goal would require

a massive shift in behavior by manufacturers and consumers. EPA and

NHTSA are forcing that shift in three ways, each of which is currently being

challenged before this Court.

      First, EPA tried to give States a path to force electrification in ways that

federal regulators cannot.       Under the Clean Air Act, EPA may grant

California a preemption waiver for its own emission standards to address its

local pollution problems, and other States may then follow California's lead.

EPA has now afforded California such a waiver not for local pollutants but for

greenhouse gases. See Private Pet. Br., Ohio v. EPA, No. 22-1081 (D.C. Cir.

Oct. 24, 2022). California has already declared its plan to use that authority to
USCA Case #22-1031     Document #1972107          Filed: 11/03/2022   Page 26 of 97



ban new gasoline-powered cars and require "100-percent electrification by

2035." Id. at 10 (citation omitted).

      Second, NHTSA set new average fuel-economy standards for passenger

cars and light trucks that are based in significant part on the increasing

presence of electric vehicles in automakers' fleets. NHTSA's rule directly

contravenes Congress's command that NHTSA "may not consider" the fuel

economy of electric vehicles. 49 U.S.C. § 32902(h)(l). Congress has granted

NHTSA the authority to set fuel-economy standards at the maximum level

feasible for a fleet of traditional internal-combustion vehicles, but Congress

has reserved for itself-not the Executive Branch-policy judgments about

any potential transition to electric vehicles.

      Third, in the rule at issue here, EPA purported to exercise its authority

under Section 202 of the Clean Air Act, 42 U.S.C. § 7521, to set greenhouse-

gas emission standards for light-duty vehicles.         All of EPA's previous

greenhouse-gas rules under Section 202 were promulgated jointly with

NHTSA because vehicles' carbon-dioxide emissions and fuel economy are two

sides of the same coin. For the first time, EPA decoupled its rulemaking from

NHTSA's-precisely so EPA could avoid the statutory prohibition on

NHTSA's considering electric vehicles.           EPA then made the emission



                                        2
USCA Case #22-1031    Document #1972107         Filed: 11/03/2022   Page 27 of 97



standards so stringent that they amount to a de facto electric-vehicle mandate,

because automakers can meet them only by decreasing production of

conventional vehicles and dedicating an increasing percentage of their fleets

to electric vehicles or subsidizing the electric-vehicle production of their

competitors.

      If that move seems familiar, it is. In West Virginia v. EPA, 142 S. Ct.

2587, 2613 n.3 (2022), EPA "announc[ed] what the market share of coal,

natural gas, wind, and solar must be, and then require[d] plants to reduce

operations or subsidize their competitors to get there." Here, EPA has

similarly "announc[ed] what the market share of" electric vehicles "must be

and then require[d]" automakers to meet that target for their fleets "or

subsidize their competitors to get there." Id. In both cases, EPA reached its

desired result by setting standards beyond what could be achieved with the

disfavored power source (there, coal-fired power generation; here, the

internal-combustion engine). And in both cases, EPA effectively ordered

regulated parties to phase out the disfavored technology.

      As in West Virginia, Congress has not authorized any of this. The Clean

Air Act does not allow EPA to set emission standards for motor vehicles based

on fleetwide averaging-let alone to force electrification by "averaging" in a



                                      3
USCA Case #22-1031     Document #1972107         Filed: 11/03/2022   Page 28 of 97



large number of zeros for all the electric vehicles that EPA wants to see on the

market. EPA is once again straining statutory text to force a seismic shift in

the Nation's energy policy, only this time for automobiles rather than power

plants. The question of whether and how internal-combustion vehicles should

be phased out in favor of electric vehicles is hugely consequential: it involves

millions of jobs, the restructuring of entire industries, and the Nation's energy

independence and relationship with hostile powers.         Congress has never

delegated those policy judgments to EPA. Here as in West Virginia, EPA's

rule exceeds its statutory authority and should be set aside.

                     JURISDICTIONAL STATEMENT

      This Court has jurisdiction to review EPA's Revised 2023 and Later

Model Year Light-Duty Vehicle Greenhouse Gas Emissions Standards,

86 Fed. Reg. 74,434 (Dec. 30, 2021), under 42 U.S.C. § 7607(b)(l). The rule is

a "standard under section 7521," and petitioners timely sought review on

February 28, 2022, ''within sixty days from the date notice of such

promulgation ... appear[ed] in the Federal Register."

                      STATEMENT OF THE ISSUES

      1.    Whether EPA has authority under Section 202 of the Clean Air

Act, 42 U.S.C. § 7521, to phase out conventional vehicles in favor of electric

ones by setting fleetwide-average emission standards that cannot be met

                                       4
USCA Case #22-1031      Document #1972107          Filed: 11/03/2022   Page 29 of 97



solely by conventional vehicles and instead require automakers to dedicate an

increasing portion of their fleets to electric vehicles.

      2.    Whether the rule is arbitrary and capricious because EPA failed

to perform an adequate lifecycle analysis of electric vehicles' greenhouse-gas

emissions or an adequate and evenhanded cost-benefit analysis.

                      STATUTES AND REGULATIONS
      Pertinent statutes are set forth in the Addendum.

                        STATEMENT OF THE CASE
I.    Statutory Background
      A.    EPA's Standard-Setting Authority
      Title II of the Clean Air Act sets forth a comprehensive scheme for

regulating motor-vehicle emissions. At the center of the scheme is Section

202, which directs the EPA Administrator to

            by regulation prescribe (and from time to time revise)
            . . . standards applicable to the emission of any air
            pollutant from any class or classes of new motor
            vehicles or new motor vehicle engines, which in his
            judgment cause, or contribute to, air pollution which
            may reasonably be anticipated to endanger public
            health or welfare.
42 U.S.C. § 7521(a)(l). "Such standards shall be applicable to such vehicles

and engines for their useful life," ''whether such vehicles and engines are

designed as complete systems or incorporate devices to prevent or control


                                         5
USCA Case #22-1031     Document #1972107          Filed: 11/03/2022   Page 30 of 97



such pollution." Id. The standards may not take effect until "after such period

as the Administrator finds necessary to permit the development and

application of the requisite technology, giving appropriate consideration to the

cost of compliance within such period." Id. § 7521(a)(2).

      Congress specified numerous emission standards applicable to

individual vehicles that EPA had to promulgate under Section 202(a) for

specific pollutants. See, e.g., 42 U.S.C. §§ 7521(a)(3)(B)(ii), 7521(b)(l)(A)-(B).

Some of these statutorily specified standards provided for phase-in periods

during which the standards applied to an increasing percentage of

manufacturers' fleets. See, e.g., id. §§ 7521(g), 7521(h), 7521(i), 7541(c)(4)(A),

7541(c)(4)(B)(ii), 7541(c)(5).      In addition, to support emission-control

technologies like "the catalytic converter and oxygen sensor," Congress

obligated EPA to mandate diagnostic systems that could determine if those

technologies were deteriorating or malfunctioning in a way that "could cause

or result in failure of the vehicles to comply with emission standards" under

Section 202(a). Id. § 7521(m)(l).

      B.    Compliance, Enforcement, and Remediation
      To determine compliance with these standards, EPA "shall test, or

require to be tested in such manner as [it] deems appropriate, any new motor



                                         6
USCA Case #22-1031     Document #1972107          Filed: 11/03/2022   Page 31 of 97



vehicle or new motor vehicle engine submitted by a manufacturer." 42 U.S.C.

§ 7525(a)(l).   "If such vehicle or engine" submitted by the manufacturer

complies with the standards, EPA "shall issue a certificate of conformity." Id.

And each manufacturer must "indicate" that a certificate of conformity covers

such vehicle or engine with a "label or tag permanently affixed to such vehicle

or engine." Id. § 7541(c)(3)(C).

      In addition to testing these prototypes, EPA may test or require that

the manufacturer test "new motor vehicles" to determine if such vehicles "do

in fact conform with the regulations with respect to which the certificate of

conformity was issued." 42 U.S.C. § 7525(b)(l). If after testing an individual

"new vehicle or engine," EPA determines that "such vehicle or engine" is not

in compliance, EPA may "suspend or revoke" a certificate of conformity

"insofar as it applies to such vehicle or engine." Id. § 7525(b)(2)(A)(ii).

      Manufacturers "shall warrant" that "each new motor vehicle and new

motor vehicle engine ... is (A) designed, built, and equipped so as to conform

at the time of sale with applicable regulations under [Section 202]." 42 U.S.C.

§ 7541(a)(l). Title II gives EPA several remedial options when vehicles fail to


conform. One is to seek civil penalties from automakers for each individual

vehicle they distribute, sell, or offer in commerce without an effective



                                        7
USCA Case #22-1031     Document #1972107         Filed: 11/03/2022   Page 32 of 97



certificate of conformity. Id. §§ 7522(a)(l), 7524(a)-(b). In addition, where "a

substantial number of any class or category of vehicles or engines" fail to

conform, EPA must notify manufacturers, dealers, and purchasers, and

"require the manufacturer to submit a plan for remedying the nonconformity

of the vehicles or engines with respect to which such notification is given." Id.

§ 7541(c)(l)-(2).

II.   Regulatory Background
      A.     Greenhouse-Gas Standards
      EPA did not regulate motor-vehicle greenhouse-gas emissions until

2010. Following the Supreme Court's decision in Massachusetts v. EPA,

549 U.S. 497 (2007), EPA first issued an endangerment finding under Section

202(a) for ''well-mixed greenhouse gases"-i.e., carbon dioxide, methane,

nitrous oxide, hydrofluorocarbons, perfluorocarbons, and sulfur hexafluoride.

See 74 Fed. Reg. 66,496 (Dec. 15, 2009).

      EPA then promulgated its initial greenhouse-gas emission standards in

a joint rulemaking with NHTSA, which sets corporate average fuel-economy

standards under the Energy Policy and Conservation Act, 49 U.S.C. § 32901

et seq. As the agencies explained, carbon-dioxide emissions-EPA's central

focus in the greenhouse-gas rules-are "essentially constant per gallon



                                        8
USCA Case #22-1031      Document #1972107           Filed: 11/03/2022   Page 33 of 97



combusted of a given type of fuel," so carbon-dioxide emission standards and

fuel-economy standards are two sides of the same coin. 75 Fed. Reg. 25,324,

25,327 (May 7, 2010); see 84 Fed. Reg. 51,310, 51,315 (Sept. 27, 2019); Delta

Constr. Co. v. EPA, 783 F .3d 1291, 1294 (D.C. Cir. 2015) ("[A]ny rule that limits

tailpipe [greenhouse gas] emissions is effectively identical to a rule that limits

fuel consumption.") (citation omitted).

      Until now, all subsequent EPA rules updating the Title II greenhouse-

gas emission standards for cars and light-duty trucks were also jointly

promulgated with NHTSA.            See 85 Fed. Reg. 24,174 (Apr. 30, 2020);

77 Fed. Reg. 62,624 (Oct. 15, 2012). Because Congress prohibited NHTSA

from considering the fuel economy of electric vehicles in setting fuel-economy

standards, see 49 U.S.C. § 32902(h)(l), the agencies' jointly promulgated

standards could not be so stringent that they effectively required automakers

to include electric vehicles in their fleets.

      B.     The Rule At Issue
      In August 2021, EPA issued a notice of proposed rulemaking for new

greenhouse-gas emission standards.            EPA proposed to replace the 2020

standards and promulgate "the most stringent vehicle [greenhouse-gas]

standard[s] ... to date." 86 Fed. Reg. 43,726, 43,746 (Aug. 10, 2021). Notably,



                                          9
USCA Case #22-1031     Document #1972107        Filed: 11/03/2022   Page 34 of 97



EPA determined-for the first time-to set such standards on its own, without

engaging in a joint rulemaking with NHTSA. Id. at 43,755. Before joining the

administration, the heads of the Council on Environmental Quality and EPA's

Office of Air and Radiation (which wrote this rule) advocated this "decoupling"

precisely so that EPA could take "a bolder approach on light duty vehicle

electrification."    Climate 21 Proj., Transition Memo: Environmental

Protection Agency 11 (2021).

      Around the same time, President Biden set "a goal that 50 percent of all

new passenger cars and light trucks sold in 2030 be zero-emission vehicles"

and directed EPA to set greenhouse-gas emission standards accordingly.

86 Fed. Reg. at 43,583.    Following that directive, EPA ultimately chose

standards even more stringent than it had initially proposed. See 86 Fed. Reg.

at 74,437.

      On December 30, 2021, EPA finalized the rule at issue here, setting

revised greenhouse-gas standards for light-duty vehicles for model years

beginning with 2023. 86 Fed. Reg. at 74,434. Automakers cannot feasibly

comply with the standards unless they dramatically increase their production

of electric vehicles, due to three interlocking mechanisms of the regulation.

See id. at 74,438.    First, EPA promulgated fleetwide-average standards



                                      10
USCA Case #22-1031        Document #1972107       Filed: 11/03/2022   Page 35 of 97



instead of vehicle-specific standards. Second, EPA put a thumb on the scale

for electric vehicles by stipulating for purposes of the standards that such

vehicles are responsible for no emissions, meaning producers of electric

vehicles will appear to have much lower fleetwide-average emissions. Finally,

EPA offered credit-based incentives for electric vehicles.

      C.    Fleetwide Averaging
      Instead of issuing greenhouse-gas emission thresholds that any given

vehicle must meet, EPA has issued its greenhouse-gas standards as a formula

setting fleetwide-average emission levels that manufacturers' fleets must

meet. Each manufacturer is held to a fleetwide-average standard derived

from its annual sales-one standard for its fleet of cars and another standard

for its fleet of light trucks (i.e., larger SUVs, minivans, and pickup trucks). 40

C.F.R. § 86.1865-12(i).

      Manufacturers' fleets include multiple vehicle models, each of which is

given a non-binding carbon-dioxide emission target. EPA bases these targets

on the vehicle's size (or "footprint"). 40 C.F.R. § 86.1818-12(c)(2). A car with

the smallest footprint (41 square feet) will have a target of 145.6 grams of

carbon dioxide emitted per mile traveled (g/mile) in 2023, which reduces to

114.3 g/mile by 2026, while a car with the largest footprint (56 square feet) will



                                        11
USCA Case #22-1031     Document #1972107         Filed: 11/03/2022   Page 36 of 97



have a target of 199.1 g/mile in 2023 and 160.9 g/mile in 2026. 86 Fed. Reg. at

74,450, 74,522.

      Individual vehicles are not directly required to achieve these footprint-

based targets. As EPA explained, "[b]ecause compliance is based on the full

range of vehicles in a manufacturer's car and truck fleets, with lower-emitting

vehicles compensating for higher-emitting vehicles, the emission levels of

specific vehicles within the fleet are referred to as targets, rather than

standards." Id. at 74,439 n.16. The targets are used as inputs to determine a

unique fleetwide-average standard for each manufacturer. That fleetwide

average is "production-weighted," meaning it accounts for each vehicle's share

of the manufacturer's fleet. 40 C.F.R. §§ 86.1818-12(c)(2)(ii), 86.1865-12(i)(l).

      Compliance with the fleet average depends on sales for the entire year

and thus can be determined only once the year ends. At the end of each year,

a manufacturer must compare its actual production-weighted fleetwide-

average carbon-dioxide emission level to its production-weighted fleetwide

standard. 40 C.F.R. § 86.1865-12(j). If the actual average emission level is

higher than the standard, the manufacturer will be assessed a deficit in

proportion to the disparity between the performance and the standard. But if

the actual average emission level is below the standard, the manufacturer will



                                       12
USCA Case #22-1031     Document #1972107          Filed: 11/03/2022   Page 37 of 97



be given a proportional number of "credits."          Id. § 86.1865-12(k)(l), (4).

Manufacturers can use credits generated for one fleet to offset a deficit in the

other fleet. If there is no such deficit, manufacturers can also "bank" credits

to offset deficits accrued in future years. And manufacturers can "trade"

credits to competitors in exchange for money. Id. § 86.1865-12(k)(7)(i), (9).

      EPA has also created other ways to generate credits.              The most

significant additional credits are offered for the production of "electric

vehicles, plug-in hybrid electric vehicles, and fuel cell vehicles," which, for

simplicity's sake, we will call "electric vehicles." 40 C.F.R. § 86.1866-12(a); see

id. § 86.1803-01 (defining terms). EPA regulations stipulate that, for the

purposes of calculating fleetwide targets and fleetwide performance, electric

vehicles are to be treated as if they emit Og/mi of carbon dioxide-even when

they pull electricity from a grid that is powered by carbon-emitting sources.

Id. § 86.1866-12(a). EPA inflates such credits even more by applying a

multiplier to the total number of electric vehicles each manufacturer produces

in model years 2023 and 2024. Id. § 86.1866-12(c). In this rule, EPA selected

multipliers of 1.5 and 1.3, meaning that, for example, if a manufacturer

produces a million cars in model year 2023, 100,000 of which are electric, EPA

will calculate its credits as if the manufacturer produced 150,000 electric



                                        13
USCA Case #22-1031     Document #1972107         Filed: 11/03/2022   Page 38 of 97



vehicles (subject to annual cumulative credit caps).        Id. § 86.1866-12(b);

86 Fed. Reg. at 74,458-63.

      Credits and credit-trading play a pivotal role in EPA's compliance

regime. Manufacturers can carry forward a deficit for up to three years before

being subject to sanction. But if, after three years, the manufacturer has failed

to offset the deficit, EPA will withhold certification from a portion of the

manufacturer's vehicles. 40 C.F.R. §§ 86.1818-12(c)(l), 86.1865-12(j), (k)(8);

see id. § 86.1865-12(k)(8)(ii)-(iii) (formula for determining which vehicles in a

noncomplying fleet must have certification withheld).          The only way a

manufacturer can avoid these sanctions is by purchasing credits.

Manufacturers are also subject to financial penalties for selling vehicles not

covered by such certificates.

      D.    Mandating Electric Vehicles
      In the final rule, EPA opted for the "most stringent standards

considered in the proposed rule." 86 Fed. Reg. at 74,435. The rule projects

that the average fleetwide targets for cars and light-duty trucks will be

132 g/mi and 187 g/mi, respectively, in 2026. Id. at 74,440. Those figures are

significantly stricter than the standards from the 2020 joint EPA-NHTSA rule

(204 g/mi and 284 g/mi). See 86 Fed. Reg. at 43,732; 85 Fed. Reg. at 24,183.



                                       14
USCA Case #22-1031     Document #1972107        Filed: 11/03/2022   Page 39 of 97



      The rule's stringent standards are expressly designed to force

manufacturers to produce a certain percentage of electric vehicles as a share

of the new-vehicle market. When the final rule issued, EPA estimated that

electric vehicles made up about 3.6% of the year's vehicle sales. 86 Fed. Reg.

at 74,486.     EPA projects-and its data confirm-that to meet the new

standards, manufacturers must increase the market share for electric vehicles

to 7% in model year 2023 and to 17% in model year 2026. Id. at 74,485; see id.

at 74,438 (explaining that the standards are achievable ''with a growing

percentage of electrified vehicles").       Manufacturers thus must double

production of electric vehicles within a year, and more than quadruple it within

a few years.

      Natural market forces would not produce that growth rate.           EPA

acknowledged that the projected 17% market-penetration rate for electric

vehicles is "driven" by "the increased stringency of our final standards."

86 Fed. Reg. at 74,484. Compliance with those standards ''will necessitate

greater implementation and pace of technology penetration," including of

electric vehicles.   / d. at 74,493.   Indeed, EPA projected that, if it had

maintained the 2020 standards, the electric-vehicle penetration rate in 2026

would be just 7%, less than half the 17% rate under the new standards.



                                       15
USCA Case #22-1031     Document #1972107          Filed: 11/03/2022   Page 40 of 97



Regulatory Impact Analysis (RIA) 4-27 tbls. 4-27 & 4-28. EPA's new rule is

thus clearly intended to force electrification of the Nation's vehicle fleet.

                        SUMMARY OF ARGUMENT

      I.    EPA's rule must be set aside because it exceeds the agency's

authority under Section 202 of the Clean Air Act.

      A.    EPA has claimed a power of incredible consequence: to phase out

combustion-engine vehicles in favor of electric ones. There can be no denying

the ''vast economic and political significance" of that authority. West Virginia,

142 S. Ct. at 2605. The costs of EPA's proposed transition make this one of

the most expensive agency rules, if not the most expensive, in the Nation's

history. By the agency's own estimates, the rule will cost billions of dollars

annually and $300 billion in total-far more than what the Supreme Court has

found to be economically significant in other major-question cases. Moreover,

EPA's rule would eliminate millions of jobs and force the restructuring of

multiple industries.

      EPA's rule also goes to the heart of a critically important political

question. As in West Virginia, the rule preempts an active debate in Congress

and among the States about the future of conventional vehicles. See 142 S. Ct.

at 2614. And it puts EPA in the position of deciding a host of major national



                                        16
USCA Case #22-1031        Document #1972107         Filed: 11/03/2022   Page 41 of 97



policy questions on which it lacks expertise. Among other policy concerns,

electrification will make the automotive industry dependent on supply chains

dominated by China and other hostile nations. See id. at 2612. Importantly,

Congress has previously considered and rejected proposed bills that would

force vehicle electrification. Instead, Congress's broader plan for tackling

motor-vehicle greenhouse-gas emissions has focused on renewable fuels

rather than forced electrification.

      B.        Given the vast economic and political significance of EPA's rule, it

"must point to 'clear congressional authorization' for the power it claims."

West Virginia, 142 S. Ct. at 2609. Because Congress nowhere provided clear

authorization for EPA to effectively mandate electrification of the Nation's

vehicles, the rule cannot stand. On the contrary, Congress clearly precluded

EPA from using Section 202(a) to phase out internal-combustion vehicles.

EPA achieves that result only by misconstruing the standard-setting tools at

its disposal.

      EPA could accomplish its objective of compelling automotive

manufacturers to dedicate an increasing percentage of their fleets to electric

vehicles only by setting emission standards on a fleetwide-average basis. But

the statute's text and structure foreclose EPA from proceeding in this manner.



                                          17
USCA Case #22-1031       Document #1972107        Filed: 11/03/2022   Page 42 of 97



They require that emission standards under Section 202(a) apply to all vehicles

individually, not manufacturers' fleets on average. EPA must therefore set

emission standards that are achievable by individual combustion-engine

vehicles on their own.

      Even if fleetwide averaging were generally permissible under Section

202(a), the statute forecloses EPA from using fleetwide averaging to mandate

electrification.   Section 202(a) authorizes EPA to set "standards" for

"emission[s]" from "any class or classes of new motor vehicles or new motor

vehicle engines, which ... cause, or contribute to," potentially harmful air

pollution. 42 U.S.C. § 7521(a). In EPA's judgment when setting standards,

electric vehicles do not actually "emi[t]" carbon dioxide-the relevant

pollutant-or "cause, or contribute to," air pollution. Thus, EPA may set

standards for internal-combustion vehicles, but it may not include electric

vehicles in the class, let alone make the standard so stringent that only an ever-

increasing number of electric vehicles will enable manufacturers to meet the

"average" emissions level.

      IL     In the alternative, EPA's rule must be set aside because it is

arbitrary and capricious. In multiple ways, EPA irrationally put a thumb on

the scale in favor of its preferred technology.



                                       18
USCA Case #22-1031     Document #1972107         Filed: 11/03/2022   Page 43 of 97



      A.     EPA treated electric vehicles as a pure environmental good that

contributes zero emissions.     It did so by focusing myopically on tailpipe

emissions and avoiding other lifecycle emissions in its standards.         EPA

asserted that ignoring lifecycle emissions "is appropriate" given the agency's

"goal of encouraging further transition to electric vehicles." Response to

Comments (RTC) 6-64.           That is the very definition of arbitrary

decisionmaking: the agency ignored emissions that did not support the answer

it wanted.

      B.     EPA's cost-benefit analysis was also flawed, on both sides of the

ledger. To justify the rule's $300 billion price tag, EPA claimed $320 billion in

cost savings to consumers from more fuel-efficient cars. EPA acknowledged

that if electric vehicles really provided those benefits to consumers, one would

expect consumers to buy the vehicles without the need for government

intervention.   But it asserted without credible evidence that consumer

behavior would be driven by irrational economic decision-making. On the

other side of the ledger, EPA unreasonably discounted the rule's costs,

assuming energy prices that defy reality.




                                       19
USCA Case #22-1031       Document #1972107      Filed: 11/03/2022   Page 44 of 97



                                  STANDING
      Petitioners include entities that produce or sell liquid fuels and the raw

materials used to produce them, along with associations whose members

include such entities.     By design, EPA's emission standards reduce the

demand for liquid fuels and their raw materials by displacing an increasing

number of combustion-engine vehicles with electric vehicles that use little to

no liquid fuel. See 86 Fed. Reg. at 74,503 ("Through 2050, our rule will reduce

gasoline consumption by more than 360,000 million gallons."). As shown in the

accompanying declarations, depressing the demand for those fuels injures

petitioners and petitioners' members financially.       This economic injury

constitutes injury-in-fact under Article III that is caused by the challenged

regulatory action and redressable by vacatur of the rule. See, e.g., American

Fuel & Petrochemical Mfrs. v. EPA, 3 F.4th 373, 379-380 (D.C. Cir. 2021).

Petitioners also include four individuals and a nonprofit whose board members

will be harmed in their individual ability to find affordable gasoline-powered

vehicles to purchase. See Competitive Enter. Inst. v. NHTSA, 901 F.2d 107,

111-113 (D.C. Cir.1990);ActiononSmoking&Healthv.DepartmentofLabor,

100 F .3d 991, 992 (D.C. Cir. 1996).




                                       20
USCA Case #22-1031     Document #1972107         Filed: 11/03/2022   Page 45 of 97



      The petitioners that are membership associations also have associational

standing to challenge EPA's decision. See Hunt v. Washington State Apple

Advert. Comm'n, 432 U.S. 333, 342-343 (1977). Their members have standing

to sue in their own right, for the reasons described. The interests petitioners

seek to protect are germane to their organizational purposes, which include

safeguarding the viability of their members' businesses. And neither the

claims asserted nor the relief requested requires the participation of individual

members.

                         STANDARD OF REVIEW
      This Court "shall hold unlawful and set aside agency action" that is

"arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

with law," or "in excess of statutory jurisdiction, authority, or limitations, or

short of statutory right." 5 U.S.C. § 706(2)(A), (C).

                                 ARGUMENT

I.    EPA Lacks Statutory Authority To Set Greenhouse-Gas Emission
      Standards That Effectively Mandate Electric Vehicles.
      EPA's rule should be set aside because it exceeds the agency's statutory

authority. See 5 U.S.C. § 706(2)(C); 42 U.S.C. § 7607(d)(9)(C). The rule

implicates a "major question," which means that EPA must point to clear

congressional authorization for the power it asserts. Yet Congress did not


                                       21
USCA Case #22-1031     Document #1972107         Filed: 11/03/2022   Page 46 of 97



clearly authorize EPA's approach. On the contrary, Congress denied EPA the

power to use fleetwide averages, and at a minimum it did not allow averaging

in zeros to represent the electric vehicles EPA would force onto the market.

      A.    EPA Must Show Clear Congressional Authorization To Force
            Electrification.
      Under the major-questions doctrine, a court may not construe a statute

to "authoriz[e] an agency to exercise powers of 'vast economic and political

significance' "unless the statute does so in "clea[r]" terms. Alabama Ass'n of

Realtors v. HHS, 141 S. Ct. 2485, 2489 (2021) (quoting Utility Air Regul. Grp.

v. EPA, 573 U.S. 302, 324 (2014)). Thus, an agency seeking to exercise such

significant powers must identify "something more than a merely plausible

textual basis for the agency action." West Virginia v. EPA, 142 S. Ct. 2587,

2609 (2022) (quoting Utility Air, 573 U.S. at 324). "The agency instead must

point to 'clear congressional authorization' for the power it claims." Id.

      In assessing the economic and political significance of a rule, the

Supreme Court has considered both the rule's direct effects and the

implications of the agency's underlying claim of authority. For example, in

West Virginia, although EPA's Clean Power Plan only incrementally shifted

power generation, EPA had asserted the "highly consequential power" to

"announc[e] what the market share of coal, natural gas, wind, and solar must


                                       22
USCA Case #22-1031     Document #1972107         Filed: 11/03/2022   Page 47 of 97



be, and then requir[e] plants to reduce operations or subsidize their

competitors to get there." 142 S. Ct. at 2609 & 2613 n.4; seeAlabamaAss'n of

Realtors, 141 S. Ct. at 2489 (considering the "sheer scope of the [agency's]

claimed authority" in addition to the rule's "economic impact"). An agency

cannot avoid the need for clear backing from Congress by claiming an

awesome power but exercising only a little of it in the first instance.

      This case directly parallels West Virginia at both a broad and a more

specific level. Broadly, just as in West Virginia, EPA is claiming the power to

effect a wholesale shift in energy policy: moving the Nation's vehicle fleet from

vehicles powered by internal-combustion engines that use liquid fuels to

vehicles powered by battery-operated electric motors. The only difference is

that EPA is waving its wand over motor vehicles instead of power plants. At

a more specific level, the Supreme Court in West Virginia identified several

clues from the statutory and regulatory scheme indicating that EPA needed

clear congressional authorization for its Clean Power Plan. Those same clues

are present here in spades. The lesson should be unavoidable: EPA needs

clear support from Congress to replace the kind of vehicles America drives on

its roads.




                                       23
USCA Case #22-1031     Document #1972107          Filed: 11/03/2022   Page 48 of 97



            1.     EPA claims a power of vast economic significance.
      At the threshold, the rule's economic significance is staggering, in both

its direct effects and the implications of the authority EPA claims. Several

considerations underscore the rule's enormous economic cost.

      Direct Compliance Costs. EPA projects that the rule will cost $300

billion by 2050. 86 Fed. Reg. at 74,509. This would be one of the most

expensive agency rules, if not the most expensive, in the Nation's history. In

2023 alone, it will cost the economy $6 billion, rising to $19 billion by 2030. Id.

at 74,509 (using 2018 dollars). Even accounting for inflation, that is twice the

economic cost of the Clean Power Plan, which the Supreme Court in West

Virginia found significant enough to trigger the major-questions doctrine.

See West Virginia, 142 S. Ct. at 2610; EPA, Regulatory Impact Analysis for

the Clean Power Plan Final Rule 3-22 (projecting up to $3 billion in costs in

2025 and up to $8.4 billion in costs in 2030).

      Transformation of the Vehicle Market. The underlying authority EPA

claims in the rule is even more economically significant. In substance, EPA

has asserted the power to phase out conventional vehicles. The rule effectively

mandates that a decreasing percentage of the fleet be gasoline-powered, and

an increasing percentage be electric. It does so by setting greenhouse-gas



                                        24
USCA Case #22-1031     Document #1972107         Filed: 11/03/2022   Page 49 of 97



emission standards so strict that manufacturers cannot meet them with

conventional vehicles alone, but must instead increase the share of electric

vehicles in their overall production.

      In West Virginia, the Court explained that EPA had sought to

"substantially restructure the American energy market." 142 S. Ct. at 2610.

Here, EPA seeks to "substantially restructure" the American vehicle market,

and with it, much of the Nation's energy market.           As EPA explained,

"[c]ompliance with the final standards will necessitate ... further deployment

of [electric-vehicle] technologies." 86 Fed. Reg. at 74,493 (emphasis added);

see id. at 74,485 ("[T]he final standards can be met with a fleet that achieves a

gradually increasing market share of [electric vehicles]."). EPA explained that

the final standards "are achievable primarily through the application of

advanced gasoline vehicle technologies but with a growing percentage of

electrified vehicles." Id. at 74,438 (emphasis added). And it "project[ed] that

during the four-year ramp up of the stringency of the [greenhouse-gas]

standards, the standards can be met with gradually increasing sales of plug-in

electric vehicles in the U.S. from about 7 percent market share in [model year]

2023 ... up to about 17 percent in [model year] 2026." Id. at 74,438.




                                        25
USCA Case #22-1031    Document #1972107         Filed: 11/03/2022   Page 50 of 97



      Furthermore, EPA made clear that it set greenhouse-gas standards not

merely to require the level of electrification the market would otherwise

provide, but to "driv[e]" electric-vehicle production. 86 Fed. Reg. at 74,484.

EPA acknowledged that in a "no-action" scenario-i.e., a scenario in which it

promulgated no new greenhouse-gas standards and maintained the status

quo-the electric-vehicle market-penetration rate in model year 2026 would

be just 7%, less than half the 17% penetration rate under the new standards.

RIA 4-27 tbls. 4-27 & 4-28. EPA thus claims the power to accelerate the

electrification of the fleet (and the corresponding demise of conventional

vehicles) by using greenhouse-gas standards to require electric-vehicle

penetration rates at whatever level EPA believes feasible-a judgment it

claims is entitled to "particularly great deference." 86 Fed. Reg. at 74,452.

      Elimination of American Jobs.         EPA's electrification goal would

overhaul the American automobile industry, which "supports 10 million direct

and indirect jobs" and "accounts for more than three percent of GDP."

Securing America's Future Energy (SAFE), Comment 5 (Sept. 27, 2021); see

U.S. Chamber of Commerce, Comment 7 (Sept. 27, 2021). The United States

is unlikely to replace those jobs with jobs manufacturing electric vehicles,

because battery and battery-cell production is dominated by Asia and, to a



                                      26
USCA Case #22-1031    Document #1972107         Filed: 11/03/2022   Page 51 of 97



lesser extent, Europe. See Jim Barrett & Josh Bivens, The Stakes for Workers

in How Policymakers Manage the Coming Shift to All-Electric Vehicles,

Economic Policy Inst. 7-8 (Sept. 22, 2021).         Moreover, electric-vehicle

production is far more automated, "requir[ing] 30% less manufacturing labor

when compared with conventional cars." Carlos Waters, How Electric Vehicle

Manufacturing Could Shrink the Midwestern Job Market, CNBC.com (Sept.

4, 2022), https://www.cnbc.com/2022/09/04/ev-manufacturing-may-shrink-us-

midwest-auto-parts-trade.html.

      The effects of EPA's rule would extend well beyond the automobile

industry. Electrification would overhaul the American oil and natural gas

sector, which "supports more than ten million U.S.jobs." American Petroleum

Inst., Comment 1 (Sept. 27, 2021). With two-thirds of petroleum demand

coming from the transportation sector, most of those jobs in drilling, refining,

and distribution depend on the conventional-vehicle market. See U.S. Energy

Info. Admin., Monthly Energy Rev. 78 (July 2022). Countless supply chains

and end products such as asphalt, chemicals, and lubricants would be affected.

Phasing out conventional vehicles would also devastate the biofuels industry.

According to one industry group, a ban on conventional vehicles by 2035 would

reduce U.S. GDP by $321 billion and cost 255,000 jobs, concentrated in a few



                                      27
USCA Case #22-1031     Document #1972107         Filed: 11/03/2022   Page 52 of 97



corn-producing states. Agricultural Retailers Ass'n, Economic Impacts to

U.S. Biofuels, Agriculture, and the Economy from Subsidized Electric

Vehicle Penetration 13, 16 (Oct. 2020).

      By any relevant economic measure-"the amount of money involved for

regulated and affected parties, the overall impact on the economy, [or] the

number of people affected," U.S. TelecomAss'n v. FCC, 855 F.3d 381, 422-423

(D.C. Cir. 2017) (Kavanaugh, J., dissenting from denial of rehearing en

banc)-EPA's asserted power to force a transition from gasoline-powered

vehicles to electric ones represents "an enormous and transformative

expansion in [its own] regulatory authority," affecting "a significant portion of

the American economy." Utility Air, 573 U.S. at 324 (citation omitted).

            2.    EPA claims a power of vast political significance.
      The rule's political significance is just as vast. In West Virginia, the

Court identified several considerations that are equally present here.

      Ongoing Policy Debate. The target of EPA's rule-to say nothing of

climate change more generally-is "the subject of an earnest and profound

debate across the country." West Virginia, 142 S. Ct at 2614. While

California is moving aggressively to accelerate electrification by regulatory

fiat, see Cal. Code Regs. Tit. 13, § 1962.4 (Zero-Emission Vehicle Standards



                                       28
USCA Case #22-1031    Document #1972107         Filed: 11/03/2022   Page 53 of 97



for 2026 and Subsequent Model Year Passenger Cars and Light-Duty Trucks),

other States oppose efforts to shift energy-investment and generation from

petroleum to other sources, see, e.g., Act Relating to Financial Institutions

Engaged in Boycotts of Energy Companies, 2022 W. Va. Legis. Ch. 235.

      Congress itself is debating this very issue, which makes EPA's claim to

policymaking authority "all the more suspect." West Virginia, 142 S. Ct. at

2614; see FDA v. Broum & Williamson Tobacco Corp., 529 U.S. 120, 155

(2000). Congress has yet to reach an answer and remains in factfinding mode

as it considers the benefits and risks of electrification. Just a month before

EPA promulgated the rule, Congress enacted the Infrastructure Investment

and Jobs Act of 2021, which requires several agencies-notably not EPA-to

prepare three separate reports for Congress on the implications of electrifying

the Nation's vehicle fleet. Pub. L. No.117-58, §§ 25006, 40435, 40436, 135 Stat.

429, 845-49, 1050 (2021) (requiring reports on "the cradle to grave

environmental impact of electric vehicles" and "the impact of forced labor in

China on the electric vehicle supply chain," among other things).

      Balancing National Policy Considerations. In West Virginia, the

Court found it significant that EPA's rule would put the agency in the position

of "balancing the many vital considerations of national policy implicated in



                                      29
USCA Case #22-1031     Document #1972107          Filed: 11/03/2022   Page 54 of 97



deciding how Americans will get their energy." 142 S. Ct. at 2612. The Court

was concerned that the agency would decide "how much of a switch from coal

to gas" the grid could tolerate, and "how high energy prices [could] go" before

becoming "exorbitant." Id. at 2612. Here, too, EPA's rule puts it in the

position of deciding "how much of a switch" to electrification the nation's power

grids can tolerate, and how high vehicle and energy prices can climb without

being "exorbitant." See Texas Br. 15-22.

      As the State petitioners' brief explains more fully, EPA's asserted

authority also implicates another key "consideration[] of national policy":

national security. See Texas Br. at 22-24. NHTSA has acknowledged that the

United States "has very little capacity in mining and refining any of the key

raw materials" for electric vehicles. 86 Fed. Reg. 49,602, 49,797 (Sept. 3, 2021).

And unlike biofuels and petroleum, most of the supply of critical components

of batteries and motors for electric vehicles is controlled by hostile or unstable

foreign powers, in particular China. Shifting to electric vehicles would thus

make the American automotive industry critically dependent on one of the

Nation's primary geopolitical rivals.

      Specifically, China is by far the largest source of graphite, which is used

for lithium-ion batteries, and rare-earth elements like neodymium, which are



                                        30
USCA Case #22-1031     Document #1972107        Filed: 11/03/2022   Page 55 of 97



used for permanent-magnet motors.         By some estimates, a transition to

electric vehicles would raise demand for graphite by 2500% and rare-earth

elements by 1500%. International Energy Agency, The Role of Critical

Minerals in Clean Energy Transitions 97 (Mar. 2022) (May 2021 ed. cited in

Alliance for Automotive Innovation (AAI), Comment 101-102 (Oct. 26, 2021)).

Another key component of lithium batteries, cobalt, is controlled by the

Democratic Republic of the Congo, which is implicated in significant human-

rights concerns (including child labor), and Chinese state-owned enterprises

have a controlling interest in 70% of Congo's cobalt mines. AAI Comment at

108.

       Lack ofAgency Expertise. To force electrification, EPA would need to

understand and weigh "many vital considerations of national policy." West

Virginia, 142 S. Ct. at 2612; see pp. 29-31, supra. The policy judgments here

involve not only potential climate impacts but millions of jobs, the

restructuring of entire industries, the Nation's energy independence and

relationship with hostile powers, and supply-chain and electric-grid

vulnerabilities.   EPA does not have any expertise in those matters.          It

implicitly conceded as much when it declined to consider in the rulemaking the

"shifts in employment associated with the transition from gasoline vehicles to



                                     31
USCA Case #22-1031    Document #1972107         Filed: 11/03/2022   Page 56 of 97



[electric vehicles]" or the "security risks associated with the manufacture and

importation of different types of vehicles and vehicle components."

RTC 22-11, 19-18. The judgments here are not ones "Congress presumably

would" entrust to an "agency [with] no comparative expertise," but are "ones

that Congress would likely have intended for itself." West Virginia, 142 S. Ct.

at 2612-2613.

      Prior Rejections by Congress of Similar Policies. As evidence that

the judgments here belong to Congress rather than the Executive, both

Houses of Congress have previously "considered and rejected" multiple bills

with effects similar to EPA's rule. West Virginia, 142 S. Ct. at 2614 (quoting

Broum & Williamson, 529 U.S. at 144). Congress even rejected one bill that

would have mandated a level of electric-vehicle penetration roughly equal to

the 50%-by-2030 target EPA embraces in the rule. See, e.g., Zero-Emission

Vehicles Act of 2019, H.R. 2764, 116th Cong. (2019); Zero-Emission Vehicles

Act of 2018, S. 3664, 115th Cong. (2018); see also 116 Cong. Rec. 19238-40

(1970) (proposed amendment to Title II that would have banned internal-

combustion vehicles by 1978). Congress's "consistent judgment" against the

very sorts of mandates imposed by EPA undercuts any claim of congressional




                                      32
USCA Case #22-1031     Document #1972107        Filed: 11/03/2022   Page 57 of 97



authorization. Brown & Williamson, 529 U.S. at 147-148, 160; accord West

Virginia, 142 S. Ct. at 2614.

      Conflict with Congress's Broader Design.            EPA's rule is also

inconsistent with the broader statutory scheme and Congress's plan for

tackling climate change. See Utility Air, 573 U.S. at 321. When Congress has

sought to address greenhouse-gas emissions from the transportation sector, it

has done so by promoting corn ethanol and other biofuels, which are used in

conventional vehicles and which-unlike electric-vehicle components-are in

abundant domestic supply.       See, e.g., Inflation Reduction Act of 2022,

Pub. L. No. 117-169, §§ 13202, 13404, 22003, 136 Stat. 1818, 1932, 1966-1969,

2020 (2022).    Indeed, Congress has consistently legislated against the

background expectation that conventional vehicles powered by liquid fuels will

remain on the market.

      For example, in Title II's Renewable Fuel Program, Congress

mandated that "gasoline sold or introduced into commerce in the United

States" must contain a year-over-year increasing share of renewable fuels.

42 U.S.C. § 7545(o)(2)(A)(i). Under that standard, gasoline in the U.S. market

in 2022 must include tens of billions of gallons of renewable fuel.          Id.

§ 7545(o)(2)(B); see 87 Fed. Reg. 39,600 (July 1, 2022). EPA is thus working at




                                      33
USCA Case #22-1031    Document #1972107        Filed: 11/03/2022   Page 58 of 97



cross-purposes with Congress, which has required increases in liquid

renewable fuels at the same time that EPA is seeking to eliminate vehicles

that use such fuels. The obvious reason for the mismatch is that Congress has

not decided to mandate electrification-nor has it placed that power in EPA's

hands.

           3.    EPA claims an unheralded power with staggering
                 implications.
      In asserting the sweeping power to mandate increasingly high levels of

electrification, EPA claims to have "discover[ed] in a long-extant statute an

unheralded power to regulate 'a significant portion of the American

economy."' Utility Air, 573 U.S. at 324 (quoting Brown & Williamson,

529 U.S. at 159). The novelty and broad implications of the agency's approach

are powerful clues that Congress never authorized it.

      Novel Assertion of Agency Authority. Skepticism is warranted when

an agency asserts an "unheralded power representing a transformative

expansion in its regulatory authority." West Virginia, 142 S. Ct. at 2610

(internal quotation marks omitted). Never before has EPA claimed that Title

II of the Clean Air Act authorizes it to use emission standards to mandate

electric-vehicle production, let alone to phase out conventional vehicles.

Rather, in prior rules setting greenhouse-gas emission standards, EPA has


                                     34
USCA Case #22-1031     Document #1972107         Filed: 11/03/2022   Page 59 of 97



treated electric vehicles as a compliance "option" or "flexibility." See, e.g.,

77 Fed. Reg. at 62,917 ("[E]lectrification is an option for compliance but is not

required under this rule.").

      Indeed, forced electrification has never before even been on the table.

As discussed above, EPA's previous standards were always jointly

promulgated with NHTSA. See pp. 9-10, supra. Congress prohibited NHTSA

from considering the fuel economy of electric vehicles in setting fuel-economy

standards, see 49 U.S.C. § 32902(h)(l), so the agencies' joint rules could never

force electrification. Cooperating and coordinating with NHTSA was no real

constraint, however, because EPA has never claimed the authority to mandate

electric vehicles. EPA decoupled its rulemaking from NHTSA's only when it

purported to discover new authority in old provisions of the Clean Air Act.

      Future Implications of the Agency's Claimed Power. EPA has made

no secret of the significance of the power it exercised here. In its proposed

rule, EPA "expect[ed] that electrification would continue to play a relatively

modest role" in compliance. 86 Fed. Reg. at 74,442. But around that time,

President Eiden set as "a goal that 50 percent of all new passenger cars and

light trucks sold in 2030 be zero-emission vehicles" and directed EPA to set

greenhouse-gas emission standards accordingly. Id. at 43,583.



                                       35
USCA Case #22-1031      Document #1972107      Filed: 11/03/2022   Page 60 of 97



      In response to the President's directive, EPA's final rule was much more

aggressive. EPA ratcheted up the final emission standards from its initial

proposal, explaining that the more stringent standards "provide a more

appropriate transition to new standards for [model year] 2027 and beyond,"

"[c]onsistent with the direction of Executive Order 14037." 86 Fed. Reg. at

74,437.   EPA did not hide its commitment "to encouraging the rapid

development and deployment of zero-emission vehicles." Id. at 74,494. As in

West Virginia, there is no reason to believe that EPA will stop here. "[O]n

this view of EPA's authority, it could go further, perhaps forcing'' car

manufacturers to "cease making" internal-combustion vehicles altogether.

142 S. Ct. at 2612.

      Indeed, that is exactly where EPA is headed. When EPA promulgated

its final rule, the Administrator declared the rule "a giant step forward" in

"paving the way toward an all-electric, zero-emissions transportation future."

EPA, EPA Finalizes Greenhouse Gas Standards for Passenger Vehicles,

Paving    Way     for    a   Zero-Emissions    Future     (Dec.    20,   2021),

https://bit.ly/3wJFsTD. And in one of the companion cases before this Court,

EPA authorized California to adopt its own greenhouse-gas emission

standards-an authority California is already citing to ban new combustion-



                                      36
USCA Case #22-1031    Document #1972107         Filed: 11/03/2022   Page 61 of 97



engine vehicles and require "100-percent electrification by 2035." Private Pet.

Br. 10, Ohio v. EPA, No. 22-1081 (D.C. Cir. Oct. 24, 2022) (citation omitted).

Both parts of EPA's strategy reveal the agency's goal to convert America to

electric vehicles.

      B.     EPA Lacks Clear Statutory Authority To Use
             Fleetwide Averaging To Mandate Electric Vehicles.
      Given the vast economic and political significance ofEPA's rule, it "must

point to 'clear congressional authorization' for the power it claims." West

Virginia, 142 S. Ct. at 2609. There is not one word in the Clean Air Act about

a nationwide agency-led transition from conventional internal-combustion

vehicles to electric vehicles. To be sure, EPA has the power to set emission

standards for air pollutants from motor vehicles, just as EPA had the power

in West Virginia to set emission standards for air pollutants from power

plants. But what EPA claims here for the first time is the authority to set

standards in such a way that manufacturers can comply only by abandoning

internal-combustion vehicles in favor of electric vehicles. And nothing in the

Clean Air Act authorizes that.

      EPA has effectively conceded as much before.          EPA is requmng

electrification by setting average emission standards for manufacturers'

nationwide fleets and "averaging" in more and more zeros to represent the


                                      37
USCA Case #22-1031     Document #1972107         Filed: 11/03/2022   Page 62 of 97



electric vehicles it wants to see in future years. Manufacturers that exceed the

standards may bank credits and trade them to other manufacturers that fall

short. EPA has previously acknowledged that the Act is silent on those

mechanisms: averaging, banking, and trading. When EPA first adopted

fleetwide averaging, it recognized that "Congress did not specifically

contemplate an averaging program when it enacted the Clean Air Act."

48 Fed. Reg. 33,456, 33,458 (July 21, 1983). And "[j]ust as the statute does not

explicitly address EPA's authority to allow averaging, it does not address the

Agency's authority to permit banking and trading." 54 Fed. Reg. 22,652,

22,665 (May 25, 1989); see 55 Fed. Reg. 30,584, 30,593 (July 26, 1990) (same).

By definition, then, the Act does not address-let alone clearly authorize-the

use of averaging, banking, and trading to electrify the Nation's vehicle fleet.

      That should be the end of the analysis. Section 202 of the Clean Air Act

does not itself "direct [conventional vehicles] to effectively cease to exist."

West Virginia, 142 S. Ct. at 2612 n.3. EPA has instead relied on mechanisms

that are not themselves spelled out in the statute and that have never before

been used to mandate electric vehicles. Just as in West Virginia, EPA has

nothing "close to the sort of clear authorization" necessary for such a

transformational policy shift. 142 S. Ct. at 2614.



                                       38
USCA Case #22-1031     Document #1972107         Filed: 11/03/2022   Page 63 of 97



      But in truth, the problem is far worse for EPA than that. As explained

below, the Act unambiguously precludes fleetwide-average emission

standards under Section 202(a). And even if the statute permitted some

fleetwide averaging, it does not allow EPA to take the additional step of

incorporating non-emitting vehicles into emission averages and thus forcing

the market toward electric vehicles. EPA is not merely stretching vague

statutory language. It is defying clear statutory text.

            1.    EPA may not set fleetwide-average standards.

      The text and structure of Section 202, and of Title II more broadly,

unambiguously require that emission standards under Section 202(a) apply to

individual vehicles, not manufacturers' fleets on average. EPA claims to find

authority for fleetwide averaging in Section 202(a), which authorizes EPA to

issue "standards applicable to the emission of any air pollutant from any class

or classes of new motor vehicles ... which in [its] judgment cause, or contribute

to, air pollution which may reasonably be anticipated to endanger public health

or welfare." 42 U.S.C. § 7521(a).

      On its face, that provision authorizes EPA to set standards for vehicles

that emit harmful air pollutants. It says nothing about averaging across fleets.

As noted, when EPA first adopted fleetwide averaging, it acknowledged that



                                       39
USCA Case #22-1031      Document #1972107         Filed: 11/03/2022   Page 64 of 97



"Congress did not specifically contemplate an averaging program when it

enacted the Clean Air Act." 48 Fed. Reg. at 33,458. EPA claimed to have the

authority because the Act "does not explicitly preclude standards" based on

averaging. 54 Fed. Reg. at 22,666 (emphasis added). EPA was wrong. "[T]he

broader context of the statute as a whole," Robinson v. Shell Oil Co., 519 U.S.

337, 341 (1997), makes clear that Section 202(a) does not permit fleetwide

averaging.

                   a.    Other provisions in Section 202 demonstrate that
                         emission standards may not be based on
                         averaging.
      1.     Title II is replete with provisions that necessarily apply to vehicles

individually, not to fleets on average. That is evident first in the emission

standards prescribed by Section 202 itself. In Section 202(b ), the Act sets forth

specific light-duty vehicle emission standards that EPA must promulgate in

"regulations under" Section 202(a). 42 U.S.C. § 7521(b). For example, for

vehicles in model years 1977 to 1979, the standards must provide that

"emissions from such vehicles and engines may not exceed 1.5 grams per

vehicle mile of hydrocarbons and 15.0 grams per vehicle mile of carbon

monoxide." Id. § 7521(b)(l)(A).




                                        40
USCA Case #22-1031     Document #1972107         Filed: 11/03/2022   Page 65 of 97



      Those provisions require that the "regulations under [Section 202(a)]"

apply to ''vehicles and engines," not ''vehicles and engines on an average basis

across a fleet." Construing those provisions to allow averaging would, in effect,

add words to the statute that change its meaning. Neither courts nor agencies

may "supply words . . . that have been omitted." Antonin Scalia & Bryan

Garner, Reading Law: The Interpretation of Legal Texts 93 (2012); accord

Rotkiske v. Klemm, 140 S. Ct. 355, 360-361 (2019). And supplying the extra

words "on average" would have a significant substantive effect: "roller coaster

riders must be 48 inches tall" means something very different from "roller

coaster riders must be 48 inches tall on average."

      The testing requirements accompanying the Section 202(b) standards

confirm that those standards apply to all vehicles. In particular, EPA must

"test any emission control system incorporated in a motor vehicle or motor

vehicle engine . . . to determine whether such system enables such vehicle or

engine to conform to the standards required to be prescribed under [Section

202(b) of the Act]." 42 U.S.C. § 7525(a)(2). If the system complies, EPA must

issue a ''verification of compliance with emission standards for such system."

Id. Those requirements plainly contemplate standards that apply to individual

vehicles and their emission-control systems. Not only does the statutory text



                                       41
USCA Case #22-1031     Document #1972107         Filed: 11/03/2022   Page 66 of 97



frame the inquiry as whether an individual ''vehicle" or "engine" conforms to

the emission standards, but the provision's foundational premise-that an

emission-control system can enable a vehicle to meet emission standards-

depends on individually applied standards.

      11.   Other parts of Section 202 further demonstrate that emission

standards under Section 202(a) cannot rely on averaging. Section 202(b)(3),

for example, authorizes EPA to grant waivers from certain nitrogen-oxide

emission standards-which, again, are standards "under" Section 202(a), see

42 U.S.C. § 7521(b)(l)(B)-for no "more than 5 percent of [a] manufacturer's

production or more than fifty thousand vehicles or engines, whichever is

greater." Id. § 7521(b)(3). This provision would be nonsensical under a

fleetwide-averaging regime. It contemplates a default under which every

vehicle meets a standard, then gives manufacturers a waiver from that default

for up to 5% of the fleet. But under fleetwide averaging, no waiver is needed.

Instead, a vast proportion of a manufacturer's fleet-perhaps 50% or more-

effectively has a ''waiver" so long as a sufficient number of vehicles outperform

the standard.     Likewise, Section 202(g), which specifies an increasing

"percentage of each manufacturer's sales volume" of each model year's




                                       42
USCA Case #22-1031       Document #1972107       Filed: 11/03/2022   Page 67 of 97



vehicles that must comply with specified emission standards, is fundamentally

incompatible with averaging. Id. § 7521(g)(l).

      1n.   Similarly,     under   Section   202(m),    EPA      must    require

manufacturers to install on "all" new light-duty vehicles and trucks "diagnostic

systems" capable of identifying malfunctions that "could cause or result in

failure of the vehicles to comply with emission standards established under

this section." Id. § 7521(m)(l). As this requirement makes clear, individual

vehicles must "comply with emissions standards established under [Section

202]." Id. Otherwise, requiring diagnostic equipment on "all" vehicles makes

no sense.    In a fleetwide-averaging regime, this requirement would be

pointless, as the deterioration or malfunction of an individual vehicle's

emission-related systems would provide virtually no information about

whether the fleet as a whole is compliant.

                  b.      Title H's compliance and enforcement provisions
                          for emission standards confirm that EPA cannot
                          use fleetwide averaging.
      Fleetwide averaging also clashes with "the design and structure of [Title

II] as a whole." Utility Air, 573 U.S. at 321 (citation omitted). Title II sets

forth a comprehensive, interlocking scheme for enforcing emission standards

through testing, certification, warranties, remediation, and penalties.



                                       43
USCA Case #22-1031     Document #1972107        Filed: 11/03/2022   Page 68 of 97



Fleetwide-average standards are incompatible with these provisions, which

are "designed to apply to" individual vehicles and "cannot rationally be

extended" to fleets. Id. at 322.

      1.    Testing and Certification. Under Title II, EPA must "test, or

require to be tested in such manner as [it] deems appropriate, any new motor

vehicle or new motor vehicle engine submitted by a manufacturer to determine

whether such vehicle or engine conforms with the regulations prescribed

under [Section 202]." 42 U.S.C. § 7525(a)(l).       If the ''vehicle or engine

conforms to such regulations," EPA must issue the manufacturer a "certificate

of conformity." Id. EPA may later test a manufacturer's vehicles and engines,

and if "such vehicle or engine does not conform with such regulations and

requirements, [EPA] may suspend or revoke such certificate insofar as it

applies to such vehicle or engine." Id. § 7525(b )(2)(A)(ii). A manufacturer may

not sell a vehicle or engine not "covered by a certificate of conformity." Id.

§ 7522(a)(l).


      Fleetwide averaging is incompatible with these requirements in at least

two respects. First, by using the singular terms ''vehicle" and "engine," along

with "any" and "such," the statute contemplates that individual vehicles may

be tested, determined to "not conform" with the standards, and have their



                                      44
USCA Case #22-1031          Document #1972107    Filed: 11/03/2022   Page 69 of 97



certificates of conformity suspended or revoked. In a fleetwide-averaging

regime, testing an individual vehicle or engine does not enable EPA to

determine whether it "conforms with the regulations prescribed under

[Section 202]," 42 U.S.C. § 7525(a)(l), because conformity turns not on an

individual vehicle's emissions but on the fleet's average performance overall.

      Second, fleetwide averaging also makes it impossible to determine

compliance with applicable emission standards before a vehicle is sold, as

required to obtain the certificate of conformity needed for a sale. See 42 U.S.C.

§ 7522(a)(l).   Under fleetwide-average standards, a vehicle's "conform[ity]

with the regulations prescribed under [Section 202]" cannot be determined

until the manufacturer calculates its production-weighted average at "the end

of each model year," when the manufacturer knows the quantity and model of

''vehicles produced and delivered for sale." 40 C.F.R. §§ 86.1818-12(c)(2)(2),

86.1865-12(i)(l), (j)(3).

      For similar reasons, fleetwide averaging is inconsistent with the

statutory definition of an "emission standard," which "limits the quantity, rate,

or concentration of emissions of air pollutants on a continuous basis."

42 U.S.C. § 7602(k). It is impossible to know on a "continuous basis" whether

a manufacturer's fleet complies with EPA's average standards, because a



                                          45
USCA Case #22-1031      Document #1972107          Filed: 11/03/2022   Page 70 of 97



manufacturer cannot calculate its production-weighted average until the end

of the year. Simply put, an after-the-fact compliance regime is incompatible

with the Act's testing and certification scheme.

      11.    Warranties and Remediation.           Fleetwide-average standards

similarly clash with Title II's warranty provisions. Under Section 207, a

manufacturer must ''warrant to the ultimate purchaser and each subsequent

purchaser" "at the time of sale" that each new vehicle complies with applicable

regulations under [Section 202]. 42 U.S.C. § 7541(a)(l) (emphasis added). Yet,

as with certificates of conformity, manufacturers cannot warrant conformity

with fleetwide-average emission standards at the time of sale, because

compliance can be determined only at the end of the year. See 40 C.F.R.

§ 86.1865-12(i)(l)   (requiring manufacturers to compute their "production-

weighted fleet average" by "using actual production [data]" for the year in

question).

      Fleetwide-average emission standards are also inconsistent with Title

II's remediation and notification provisions. Those provisions state that if

EPA "determines that a substantial number of any class or category of

vehicles or engines . . . do not conform to the regulations prescribed under

[Section 202]," the manufacturer must remedy "the nonconformity of any such



                                      46
USCA Case #22-1031     Document #1972107         Filed: 11/03/2022   Page 71 of 97



vehicles or engines." 42 U.S.C. § 7541(c)(l). If "a motor vehicle fails to

conform," the manufacturer bears the cost.         Id. § 7541(h)(l).    Further,

"dealers, ultimate purchasers, and subsequent purchasers" must be given

notice of any nonconformity, id. § 7541(c)(2), which requires identification of

specific nonconforming vehicles.       None of this is possible where the

nonconformity is tied to a fleet on average.

      Ill.   Penalties.     Finally, EPA's fleetwide-averaging regime Is

inconsistent with the statute's penalty provision. Under Section 205, any

violation "shall constitute a separate offense with respect to each motor vehicle

or motor vehicle engine," with each offense subject to its own civil penalty of

up to $25,000. 42 U.S.C. § 7524(a) (emphasis added). Under EPA's approach,

however, no individual vehicle or engine violates the applicable standard, only

the fleet as a whole. The statute provides no method for calculating penalties

when a fleet fails to meet its fleetwide-average standard-because it does not

authorize fleetwide-average standards.

                  c.      The broader text and history of Title II confirm
                          that the rule exceeds EPA's authority.
      Other indicia of statutory meaning demonstrate that the rule exceeds

EPA's statutory authority under Section 202(a).         Elsewhere in Title II,

Congress showed that it knew how to legislate with respect to "average annual


                                       47
USCA Case #22-1031     Document #1972107          Filed: 11/03/2022   Page 72 of 97



aggregate emissions." 42 U.S.C. § 7545(k)(l)(B)(v)(II) (directing EPA to take

certain actions if "the reduction of the average annual aggregate emissions of

toxic air pollutants in a [designated district] fails to meet" certain standards).

Thus, "if Congress had wanted to adopt an [averaging] approach" for motor-

vehicle standards under Section 202(a), "it knew how to do so." SAS Inst., Inc.

v. lancu, 138 S. Ct. 1348, 1351 (2018); see Rotkiske, 140 S. Ct. at 360-361

("Atextual judicial supplementation is particularly inappropriate when, as

here, Congress has shown that it knows how to adopt the omitted language or

provision."). It did not choose that approach in Section 202(a).

      The Energy Policy Conservation Act, enacted just two years before the

1977 Clean Air Act amendments, reinforces that conclusion. There, Congress

directed the Secretary of Transportation to issue regulations setting "average

fuel economy standards for automobiles manufactured by a manufacturer" in

a given model year. 49 U.S.C. § 32902(a). That Congress has not used similar

language in Section 202(a) of the Clean Air Act is a "telling clue" that the Act

does not permit fleetwide averaging. Epic Sys. Corp. v. Lewis, 138 S. Ct. 1612,

1626 (2018).

      The Clean Air Act's history also reflects Congress's understanding that

emission standards would apply to all vehicles individually. Congress was so



                                       48
USCA Case #22-1031     Document #1972107         Filed: 11/03/2022   Page 73 of 97



focused on reducing emissions at the level of the individual vehicle that, in the

1970 amendments, Congress permitted EPA to test any individual vehicle as

it comes off the assembly line. See Pub. L. No. 91-601, § 8, 84 Stat. 1676, 1694-

1696. Such a vehicle-by-vehicle test was meant to supplement the pre-1970

testing of prototypes. Congress explained that while testing of prototypes

''will continue," "tests should require each prototype rather than the average

of prototypes to comply with regulations establishing emission standards."

H.R. Rep. No. 91-1146, at 6 (1970). And if Congress forbade averaging across

prototypes, it certainly did not permit averaging across entire fleets.

                  d.     EPA's lack of authority for a credit-trading
                         scheme further confirms its lack of authority to
                         set fleetwide averages.
      As explained above, see pp. 12-14, supra, the credit banking and trading

program is critical to EPA's electrification mandate. But the agency also lacks

authority under Title II to establish a credit scheme as part of its emission

standards under Section 202(a).

      As with fleetwide averaging, EPA has previously acknowledged that

Title II says nothing about banking and trading credits in connection with

motor-vehicle emission standards. See 54 Fed. Reg. at 22,665. What EPA has

ignored, however, is that Title II is not silent regarding banking and trading



                                       49
USCA Case #22-1031      Document #1972107              Filed: 11/03/2022       Page 74 of 97



in other contexts.      Indeed, in multiple other provisions under Title II,

Congress expressly authorized the use of bankable and tradable credits. See,

e.g.,    42   U.S.C.     §     7545(k)(7)        (reformulated      gasoline         credits);

§ 7545(o)(2)(A)(ii)(II)(cc),    (5)(A)(i)        (renewable       fuel     credits);       id.

§ 7545(o)(2)(A)(ii)(II)(cc),      (5)(A)(ii)         (biodiesel          credits);         id.

§ 7545(o)(2)(A)(ii)(II)(cc), (5)(A)(iii) (small refineries credits); id. § 7586(f)

(clean-fuel fleet-operator credits); id. § 7589(d) (California pilot test program's

clean-fuel vehicle manufacturer credit).

        Under EPA's approach, those provisions would all be superfluous,

because EPA already had the discretion to adopt a credit-trading regime for

any program. If Congress had wanted to permit credits in connection with

emission standards under Section 202(a), it knew how to and would have done

so expressly. See SAS Inst., 138 S. Ct. at 1351.

                                       *         *     *

        For all these reasons, this Court has cast substantial doubt on EPA's

authority to set fleetwide-average emission standards. As the Court explained

in NRDC v. Thomas, 805 F .2d 410 (D.C. Cir. 1986), the "engine specific thrust"

of Title II's "testing and compliance provisions" is evident both in Congress's

choice to "spea[k] of 'any,' 'a,' or 'such' motor vehicle or engine" in the text of



                                            50
USCA Case #22-1031    Document #1972107        Filed: 11/03/2022   Page 75 of 97



the statute and in the "troubling" legislative history recounted above. Id. at

425 n.24. The arguments were not dispositive in Thomas only because the

parties there had failed to present them. Id. But the Court nevertheless

recognized that the arguments were relevant to "future proceedings," id., like

this one.

             2.    At a minimum, EPA may not use fleetwide averaging to
                   require electrification.
      Despite the absence of statutory authorization for fleetwide averaging,

EPA has long employed that mechanism without significant industry

pushback. That is likely because fleetwide averaging has generally been

offered as an accommodation to regulated parties, allowing them flexibility

that the statute does not in fact permit. In its new rule, however, EPA is not

offering an extrastatutory accommodation. It is taking an additional step

away from the statutory text by using fleetwide averaging to mandate

electrification.

      To be clear, in prior rules EPA set an average emission standard and

allowed manufacturers to make some vehicles that emitted more and some

that emitted less.   Here, EPA has set tailpipe greenhouse-gas emission

standards at a level so stringent that manufacturers must incorporate an

increasing percentage of electric vehicles-which EPA treats as zero-emission


                                     51
USCA Case #22-1031     Document #1972107        Filed: 11/03/2022   Page 76 of 97



vehicles-into their averages in order to comply with the "standards." See p.

13, supra. Put differently, the agency is setting an emission standard that is

artificially low because it incorporates electric vehicles, which EPA treats as

emitting zero pollutants for averaging purposes.

      Whatever the permissibility of fleetwide averaging, the text and

structure of Title II make plain that EPA cannot manipulate averaging as a

means to force production of an increasing market share of electric vehicles.

Section 202 does not grant EPA the power to make the internal-combustion

engine go the way of the horse and carriage. At the very least, Section 202 is

hardly clear in granting that awesome power-which is what matters under

West Virginia. For automobiles as for power plants, EPA has purported to

discover in the Clean Air Act the authority to "forc[e]" manufacturers to

"cease making" a particular type of energy "altogether." 142 S. Ct. at 2612.

We have seen that play recently before, and it should end the same way.

                  a.    The statutory text demonstrates Congress's focus
                        on technologically achievable emission controls.
      1.    Section 202(a)(l) provides that EPA shall prescribe "standards

applicable to the emission of any air pollutant from any class or classes of new

motor vehicles or new motor vehicle engines, which in [its] judgment cause, or

contribute to, air pollution which may reasonably be anticipated to endanger


                                      52
USCA Case #22-1031     Document #1972107         Filed: 11/03/2022   Page 77 of 97



public health or welfare." 42 U.S.C. § 7521(a)(l). The statute, of course, does

not expressly specify which vehicles are to be included in any average emission

standard-because, as discussed above, it does not contemplate averaging in

the first place. But to the extent averaging is permissible, the text makes clear

that the vehicles included in such averaging must, in EPA's judgment, actually

emit the relevant pollutant.

      To begin with, the statute focuses on standards for the "emission" of an

air pollutant, which immediately indicates Congress's focus on vehicles

deemed to actually "emi[t]" the relevant pollutant. 42 U.S.C. § 7521(a)(l)

(emphasis added). Here, EPA's rule stipulates that electric vehicles are to be

treated for averaging purposes as if they emit no carbon dioxide (even when

they pull electricity from a grid that is powered by carbon-emitting sources).

40 C.F .R. § 86.1866-12(a). EPA has thus decided that electric vehicles as a

class do not "emi[t]" the relevant pollutant. 42 U.S.C. § 7521(a)(l). And given

the textual focus on harmful emissions, it would be extremely unusual for EPA

to include non-emitting vehicles in the standards that EPA calculates and

imposes.

      Next, the statute is explicit that the things for which EPA sets standards

must "in [EPA's] judgment cause, or contribute to, air pollution which may



                                       53
USCA Case #22-1031     Document #1972107        Filed: 11/03/2022   Page 78 of 97



reasonably be anticipated to endanger public health or welfare." 42 U.S.C.

§ 7521(a)(l).   The key textual question is thus what exactly EPA must

"judg[e]" to "cause, or contribute to" potentially dangerous air pollution. The

grammatical structure of the provision offers only two plausible options.

Because the verbs "cause" and "contribute" are in the plural form, their

subject must be plural as well. See Scalia & Garner, supra, at 140 ("Judges

rightly presume ... that legislators understand subject-verb agreement.").

The only plural nouns that could plausibly "cause" or "contribute" to pollution

are either the "new motor vehicles or new motor vehicle engines," or the "class

or classes" of those vehicles or engines.

      Under either reading, all of the covered vehicles must emit the relevant

pollutant. If it is the ''vehicles" or "engines" that EPA must judge to "cause,

or contribute to, air pollution," then Section 202(a) authorizes EPA to set

standards only for "new motor vehicles or new motor vehicle engines which in

[EPA's] judgment cause, or contribute to" potentially dangerous pollution. In

other words, EPA may set standards only for motor vehicles that in its

judgment actually emit the regulated pollutant-here, combustion-engine

vehicles that emit carbon dioxide. The converse is equally true: Section 202(a)




                                       54
USCA Case #22-1031     Document #1972107            Filed: 11/03/2022   Page 79 of 97



does not authorize EPA to set standards for vehicles that it deems not to cause

or contribute to harmful pollution.

      That is the natural reading of the statute under the "grammatical 'rule

of the last antecedent,"' which provides that a "limiting clause or phrase ...

should ordinarily be read as modifying only the noun or phrase that it

immediately follows." Barnhart v. Thomas, 540 U.S. 20, 26 (2003). Here, the

relevant limiting phrase is: ''which in [EPA's] judgment cause, or contribute,

to air pollution." And the immediately antecedent phrase is "new motor

vehicles or new motor vehicle engines." The rule of the last antecedent thus

indicates that it is the "vehicles" in the class that must "cause, or contribute"

to the pollution, and not the "class" as a whole.

      This Court and others have adopted that natural reading. This Court

has observed that Section 202(a) "requires the EPA to set emissions standards

for new motor vehicles and their engines if they emit harmful air pollutants."

Truck Trailers Mfrs. Ass'n v. EPA, 17 F .4th 1198, 1201 (D.C. Cir. 2021)

(emphasis added); see NRDCv. EPA, 954 F.3d 150,152 (2d Cir. 2020) (Section

202(a) "requires EPA to regulate emissions from new motor vehicles if EPA

determines that the vehicles 'cause, or contribute to,' [potentially dangerous]

air pollution") (emphasis added).



                                       55
USCA Case #22-1031    Document #1972107         Filed: 11/03/2022   Page 80 of 97



      Alternatively, if it is the "class or classes" of vehicles or engines that

must "cause, or contribute to, air pollution," the result is the same. When we

refer to a class of objects that does something, the ordinary and accurate

meaning is that all the members of the class do that thing. For example, when

a doctor warns a patient about a "class of medications that cause drowsiness,"

the class does not include non-drowsiness-inducing medicines. And that is the

best way to read the statute here: a class that causes pollution is most

naturally defined to include only those vehicles that cause pollution. EPA has

broad leeway to group those pollution-emitting vehicles into classes how it sees

fit. See NRDC v. EPA, 655 F .2d 318, 338 (D.C. Cir. 1981). But the vehicles

must actually be pollution-emitting in EPA's judgment.

      In short, under either plausible reading of the statute, when EPA sets

an emission standard for a pollutant, it must consider only the vehicles that it

judges to emit the relevant pollutant. Even if fleetwide averaging were

allowed as a general matter, averaging would be permissible only among types

of vehicles that "emi[t]" the harmful pollutant and that, "in [EPA's] judgment

cause, or contribute" to harmful air pollution. If EPA determines that a

particular category of vehicle is not "emi[tting]" the relevant pollutant or

"caus[ing], or contribut[ing] to" the resulting pollution, it makes no sense to



                                      56
USCA Case #22-1031    Document #1972107         Filed: 11/03/2022   Page 81 of 97



include that category in calculating the emission standard. That is not really

"averaging" at all, as it does not help EPA arrive at a technologically feasible

threshold for pollutant-emitting vehicles.

      11.   EPA has adopted such a faux "average" here. The agency set a

carbon-dioxide emission target for passenger cars and light trucks that

"averages" in a category of vehicles that it deems not to emit carbon dioxide.

EPA treats electric vehicles as "zero-emission vehicles," and assumes they

contribute "zero (0) grams/mile" of carbon dioxide. 40 C.F .R. § 86.1866-12; see

86 Fed. Reg. at 74,446. Setting aside the flaws in that assumption, see pp. 62-

64, infra, if EPA chooses to treat electric vehicles as "zero emission," it must

abide by the statutory consequences of that decision: the electric-vehicle

category cannot textually or logically be "averaged" into the emission

standards under Section 202(a).

      This error is not new. The Supreme Court recently rejected parallel

reasoning in West Virginia. There, a similar provision of the Clean Air Act

authorized EPA to guide States in "establish[ing] standards of performance

for any existing [power plant] for any air pollutant." 42 U.S.C. § 7411(d)(l).

The Court explained that authorization to "establish[] standards of

performance for existing source[s]" does not equate to the power "to direct



                                      57
USCA Case #22-1031      Document #1972107              Filed: 11/03/2022   Page 82 of 97



existing sources to effectively cease to exist." West Virginia, 142 S. Ct. at 2612

n.3 (quoting42 U.S.C. § 7411(d)) (second alteration in original). The same logic

applies to Section 202(a): in empowering EPA to set emission standards for

''vehicles" or "classes" of ''vehicles" that "cause, or contribute to, air pollution,"

Congress did not permit EPA "to direct [conventional vehicles] to effectively

cease to exist." Id.

                   b.     The statutory structure confirms Congress's focus
                          on technologically achievable emission controls.
      Several provisions of Section 202 confirm that Congress focused on

technologically feasible standards for vehicles deemed to emit pollutants that

actually cause or contribute to pollution. Section 202(a)(2) requires EPA to

provide manufacturers with lead time to comply with the standards, in order

"to permit the development and application of the requisite technology."

42 U.S.C. § 7521(a)(2). Similarly, Section 202(a)(3)(A)(i) provides that EPA's

heavy-duty-vehicle standards for certain criteria pollutants should reflect the

"greatest degree of emission reduction achievable through the application of

technology which the [EPA] determines will be available" during the relevant

model year.      / d. § 7521(a)(3)(A)(i).        Those provisions contemplate that

technological feasibility will meaningfully constrain the emission standards

that EPA sets under Section 202(a).               EPA cannot ignore technological


                                            58
USCA Case #22-1031     Document #1972107        Filed: 11/03/2022   Page 83 of 97



feasibility and simply decide to reqmre production of fewer internal-

combustion vehicles.

      Other provisions show the type of "technology" that Congress

contemplated car manufacturers would develop to meet those standards.

Section 202(m) requires EPA to command manufacturers to install on "all"

new light-duty vehicles and trucks "diagnostic systems" that identify

"emission-related systems deterioration or malfunction . . . which could ...

result in failure of the vehicles to comply with emission standards established

under this section." 42 U.S.C. § 7521(m)(l). The required diagnostic systems

must monitor, "at a minimum, the catalytic converter and oxygen sensor." Id.

In other words, to ensure compliance with emission standards under Section

202(a), Congress required "emissions-related systems" and accompanying

"diagnostic systems" on each vehicle-again underscoring Congress's view

that the vehicles subject to an emission standard actually emit the relevant

pollutant in EPA's judgment.

      As the statutory structure demonstrates, EPA may set standards that

are "technology-forcing," because they require manufacturers to adopt

nascent technology that may not yet be "adequately demonstrated." NRDC,

805 F.2d at 419.     EPA's rules thus have promoted the development of



                                      59
USCA Case #22-1031     Document #1972107          Filed: 11/03/2022   Page 84 of 97



"automotive technologies, such as on-board computers and fuel injection

systems" that improve emissions from combustion engines. 86 Fed. Reg. at

74,451. But the statute does not permit what EPA has done here: enacting

"average" standards divorced from technologically achievable limits on

emitting vehicles, which instead force manufacturers to produce a different

type of supposedly non-emitting vehicle altogether.

                  c.     Related provisions confirm that Section 202(a)
                         does not authorize averaging of non-emitting
                         electric vehicles.
      1.    Other provisions of the Clean Air Act drive home the lack of

statutory authorization to mandate electrification.       In the Clean Air Act

Amendments of 1990, Congress spoke directly to the phase-in of electric

vehicles on America's roads. Congress instructed EPA to establish standards

for "clean-fuel vehicles" operating on "clean alternative fuel," including

"electricity." Pub. L. No. 101-549, § 229, 104 Stat. 2399, 2513 (codified at

42 U.S.C. §§ 7581(2), (7), 7582(a)). Congress required that certain areas of the

country with the worst pollution would have to "phase-in" a "specified

percentage" of "clean-fuel vehicles" using "clean alternative fuels" (defined to

include "electricity") in certain fleets. 42 U.S.C. § 7586; see id. § 7581(a). The

1990 amendments highlight that Congress knows how to clearly establish



                                       60
USCA Case #22-1031     Document #1972107        Filed: 11/03/2022   Page 85 of 97



standards that apply to electric vehicles, and to directly require that such

vehicles be phased into a particular fleet. But Congress chose to do so only on

a targeted, regional basis. The contrast between the 1990 amendments and

Section 202(a) highlights the absence of any statutory authority for EPA's

rule.

        11.   Other related statutes suggest the same. In the Energy Policy

Act of 1992, Congress directed NHTSA to set fuel-economy standards based

on averages, but prohibited NHTSA from setting fuel-economy standards that

average in the fuel economy of electric vehicles. See Pub. L. No. 102-486

§§ 302,403, 106 Stat. 2776, 2870-2871, 2876 (later codified at 49 U.S.C.

§ 32902(h)). This prohibition bars NHTSA from doing exactly what EPA is

doing here: misusing its regulatory authority to force a transition from

conventional vehicles to electric vehicles by artificially tightening the

"average" standard a fleet must meet. Of course, when Congress finalized the

language of Section 202(a)(l) in 1977, it had no need to explicitly block EPA

from considering electric vehicles, because it did not contemplate that EPA

would set emission standards using averaging in the first place (or that EPA

would be setting standards for greenhouse gases). The prohibition on NHTSA

nevertheless underscores just how far EPA is reaching here: it is straining



                                      61
USCA Case #22-1031      Document #1972107        Filed: 11/03/2022   Page 86 of 97



statutory language to seize a power that Congress expressly denied to a sister

agency that actually has authority to promulgate fleetwide-average standards.

II.   EPA's Rule Is Arbitrary And Capricious
      Alternatively, EPA's rule must be vacated because it is arbitrary and

capricious. See 5 U.S.C. § 706(2). Two defects in EPA's analysis render the

rule unreasonable. First, EPA irrationally chose to treat electric vehicles as

"zero-emission" vehicles, ignoring the upstream emissions that accompany

electrification. Second, EPA's assessments of both the benefits and the costs

of the rule were unsupported. Both defects illustrate the same overarching

error: EPA irrationally treated electric vehicles as an unalloyed good, without

grappling with any of the downsides offorced electrification.

      A.     EPA Arbitrarily Calculated The Emissions Of Electric
             Vehicles.
      EPA's rule is arbitrary and capricious because it treats electric vehicles

as though they contribute zero emissions in some contexts, while

acknowledging their upstream emissions in other contexts. Even worse, EPA

took this arbitrary approach with the deliberate purpose of putting a thumb

on the scale in favor of electrification.

      In setting its standards, EPA elected to use "tailpipe-only values" to

determine vehicles' greenhouse-gas emissions. See 86 Fed. Reg. 74,446. But


                                            62
USCA Case #22-1031    Document #1972107        Filed: 11/03/2022   Page 87 of 97



as many commenters pointed out, all transportation systems emit greenhouse

gases during the course of their lifecycle. See RTC 6-52 to 6-64. Electric

vehicles generate non-tailpipe emissions in several ways.          Significant

emissions are associated with the mining, production, and disposal of the

batteries that power the vehicle.     See American Fuel & Petrochemical

Manufacturers, Comment 4 (Sept. 27, 2021). The generation of the electricity

used to charge and power the vehicle also produces significant emissions. A

2020 study performed by Argonne National Laboratory, for example, found

that increased use of electric vehicles in China, the European Union, and the

United States would result in 1 billion tons of additional greenhouse-gas

emissions through 2050. Jd.

      EPA seemingly does not dispute the upstream emissions caused by

electric vehicles.   Indeed, the agency actually included some upstream

emissions of both greenhouse gases and non-greenhouse gases in its analysis

of the rule's impact on total emissions. See RTC 6-64; 86 Fed. Reg. at 74,488-

74,492. Nor could EPA ignore upstream emissions on the ground that they

were too complex. Elsewhere in the rule, EPA was perfectly content to adopt

complex calculations even further afield from direct tailpipe emissions. For

example, the agency wholeheartedly embraced the "social cost of carbon"



                                     63
USCA Case #22-1031     Document #1972107         Filed: 11/03/2022   Page 88 of 97



calculus, which covers even highly attenuated economic costs of greenhouse

gases. See Texas Br. at 24-25. But in setting compliance standards, the agency

turned a blind eye to those considerations and examined only tailpipe

em1ss1ons.

      EPA was transparent about its reasoning for arbitrarily excluding

upstream emissions from its compliance calculations, while simultaneously

acknowledging their existence and calculating them for other purposes. The

agency explained that ignoring lifecycle emissions from electric vehicles "is

appropriate" given the agency's "goal of encouraging further transition to

electric vehicles." RTC 6-64. But the agency's bare preference for one

technology cannot satisfy the requirement that it "reasonably consider[] the

relevant issues and reasonably explain[] the decision." FCC v. Prometheus

Radio Project, 141 S. Ct. 1150, 1158 (2021).

      B.     EPA's Cost-Benefit Analysis Is Unsound.
      EPA's rule is arbitrary and capricious for another reason. The agency

concluded that its rule will cost $300 billion by 2050-perhaps the costliest rule

in history. It nevertheless concluded that the benefits of the rule outweighed

that unprecedented cost. When, as here, an agency relies "on a cost-benefit

analysis as part of its rulemaking, a serious flaw undermining that analysis can



                                       64
USCA Case #22-1031      Document #1972107         Filed: 11/03/2022   Page 89 of 97



render the rule unreasonable." National Ass'n of Home Builders v. EPA,

682 F.3d 1032, 1040 (D.C. Cir. 2012). Here, EPA's cost-benefit analysis suffers

from "serious flaw[s]" on both sides of the ledger. EPA improperly put a

thumb on the scale in favor of electric vehicles by overstating the benefits of

electric vehicles and underestimating the substantial costs of electrification.

              1.    EPA arbitrarily assessed the benefits of the rule.
        EPA tried to wave away the $300 billion price tag for its rule. It stated

that the costs of the rule would be offset by $320 billion in cost savings to

consumers resulting from more fuel-efficient cars. See 86 Fed. Reg. at 74,509-

74,510. The agency recognized the tension between its assessment and the

realities of consumer behavior: "If the benefits to vehicle buyers outweigh the

costs to those buyers of the new technologies," such as electric vehicles,

"conventional economic principles suggest that automakers would provide

them, and people would buy them," without the need for government

intervention. Id. at 74,500.

        EPA blamed the mismatch between consumer behavior and its estimate

of cost savings on consumers' failure to understand their own best interests

when it comes to fuel savings-a market failure it called the "energy efficiency

gap."     In endorsing that supposed market failure, EPA rejected the



                                        65
USCA Case #22-1031    Document #1972107         Filed: 11/03/2022   Page 90 of 97



alternative explanation that consumers do not currently demand as many

electric vehicles for rational economic reasons: "adverse effects on other

vehicle attributes" offset any fuel-savings benefits. Id. Both EPA's finding of

a market failure and its rejection of an obvious alternative explanation were

unreasonable.

      First, EPA failed to support its conclusion that "there are market

failures in the provision of fuel-saving technologies." 86 Fed. Reg. at 74,501.

EPA candidly acknowledged that it is "challenging to identify" the correct

explanation for the supposed "energy efficiency gap." Id. It acknowledged

the lack of "consensus" in the scholarly literature about the consumer side of

this supposed market failure, and the lack of "research" on the producer side.

Id. Nevertheless, EPA asserted that it "agreed" with certain commenters that

"evidence on technology costs, fuel savings, and the absence of hidden costs

suggest that there are market failures in the provision of fuel-saving

technologies." Id. But an agency cannot simply fail to provide adequate

"evidence of some market failure" justifying its action and instead claim to

have done "the best it could with the data it had." American Pub. Gas Ass'n

v. DOE, 22 F.4th 1018, 1027-1028 (D.C. Cir. 2022). That is a paradigmatic

"failure to 'engage the arguments raised before it' [and] bespeaks a failure to



                                      66
USCA Case #22-1031    Document #1972107         Filed: 11/03/2022   Page 91 of 97



consider an 'important aspect of the problem.'" Id.; accord Executive Order

12,866, 58 Fed. Reg. 51,735 (Oct. 4, 1993). If EPA failed to substantiate a

"market failure," it cannot proceed as though there is one.

      Second, EPA unreasonably dismissed the alternative explanation that

consumers do not purchase as many electric vehicles as EPA thinks they

should because fuel savings are offset by "adverse effects" on other aspects of

vehicle performance. EPA acknowledged that the National Association of

Auto Dealers had explained in comments a documented adverse impact to

performance from increased fuel efficiency. National Association of Auto

Dealers, Comment 7-8 (Sept. 27, 2021). But EPA disagreed "that vehicle

buyers must give up performance to get better fuel economy; it is possible to

get more of both," apparently without any "trade off' or additional cost.

86 Fed. Reg. at 74,501.

      EPA based that conclusion largely on a single working paper. Id. (citing

Watten et al., Attribute Production and Technical Change: Rethinking the

Performance and Fuel Economy Trade-offfor Light-Duty Vehicles, Working

Paper 34 (2021)). But that paper actually excluded from its empirical analysis

''vehicles that are not powered by gasoline." Watten, supra, at 25. And it did

not say that there are no trade-offs, only that we are "closer to a world where



                                      67
USCA Case #22-1031    Document #1972107         Filed: 11/03/2022   Page 92 of 97



it is most profitable to add technologies to meet fuel economy standards than

to do so by reducing power." Id. at 35 (emphasis added). Moreover, a single,

unpublished paper that has not undergone peer or publication review is hardly

credible evidence, especially when the paper defends a proposition that

consumers and car dealers have roundly rejected.

            2.    EPA undercounted the costs of the rule.
      On the other side of the cost-benefit analysis, EPA's calculation of costs

was unreasonable. In particular, it assumed an unjustifiably low price of the

electricity needed to power electric vehicles.       EPA estimated without

explanation that the price of electricity will rise to approximately $0.129 per

kWh by 2030. See RIA 4-37 fig. 4-4. The California Energy Commission-no

critic of electric cars-projects that electricity prices, and thus operating

costs, will be nearly double EPA's projections by 2030. See Transportation

Energy Demand Forecast, California Energy Commission at 21 (Dec. 3, 2020).

Indeed, EPA's estimates have already proven incorrect. According to the U.S.

Energy Information Administration, electricity prices currently average

$0.148 kWh-more than EPA's projected worst price over the next 30 years-

and are projected to continue rising. Short-Term Energy Outlook (Sept. 7,

2022), https://www.eia.gov/outlooks/steo. It is no doubt difficult for an agency



                                      68
USCA Case #22-1031     Document #1972107         Filed: 11/03/2022   Page 93 of 97



with no expertise in the electricity market to project future costs. But this

does not mean EPA may arbitrarily rely on "conclusory or unsupported

suppositions." United Techs. Corp. v. U.S. Dep't of Def, 601 F.3d 557, 562

(D.C. Cir. 2010). Instead, it only highlights why Congress would not have left

this decision to EPA. See pp. 31-32, supra.

      EPA's arbitrary thumb on the scale in favor of electric vehicles also led

it to unreasonably ignore an obvious alternative solution that would have

helped achieve the agency's goals in a more cost-effective manner: elevating

the minimum octane standard. As many commenters noted, higher-octane

gasoline could further reduce greenhouse-gas emissions from conventional

vehicles. See RTC 26-19 to 26-158. EPA has asserted the authority under

Section 211(c)(l) of the Clean Air Act to set a minimum octane standard. See

RTC 26-177. But EPA simply ignored the issue, stating that fuel quality was

beyond the rule's scope. RTC 26-158. An agency must consider all important

aspects of the regulatory problem, including the availability of "significant and

viable and obvious alternatives." National Shooting Sports Found., Inc. v.

Jones, 716 F.3d 200,215 (D.C. Cir. 2013) (internal quotation marks omitted).

EPA's failure to do so was arbitrary and capricious.




                                       69
USCA Case #22-1031    Document #1972107         Filed: 11/03/2022   Page 94 of 97



                              CONCLUSION
      For the foregoing reasons, the Court should set aside EPA's rule.

NOVEMBER 3, 2022                          Respectfully submitted,

                                          s/ Jeffrey B. Wall
ERIC D. McARTHUR                          JEFFREY B. WALL
DANIEL J. FEITH                           MORGAN L. RATNER
JEREMY D. ROZANSKY†                       SULLIVAN & CROMWELL LLP
SIDLEY AUSTIN LLP                         1700 New York Avenue, NW
1501 K Street NW
Washington, DC 20005                      Washington, DC 20006-5215
(202) 736-8000                            (202) 956-7500
emcarthur@sidley.com                      wallj@sullcrom.com
Caunselfor American Fuel &                Caunselfor Valero Renewable Fuel,s
Petrochemical Manufacturers and           Campany, LLC
Energy Marketers ofAmerica
                                          MATTHEWW. MORRISON
C. BOYDEN GRAY                            PILLSBURY WINTHROP SHAW PITTMAN
JONATHAN BERRY                            LLP
MICHAEL B. BUSCHBACHER                    1200 Seventeenth Street NW
BOYDEN GRAY & AsSOCIATES, PLLC            Washington, DC 20036
80117th Street NW, Suite 350              matthew.morrison@pillsbucylaw.com
Washington, DC 20006                      Caunselfor IawaSoybeanAss~
(317) 513-0622                            Minnesota Soybean Growers Association,
buschbacher@boydengray                    Sauth Dakota Soybean Association, and
associates.com                            DiamandAlJemoiive Energy, LLC
Caunselfor Clean Fuel,s
Develupment Coalition, ICM, Inc.,         BRITTANY M. PEMBERTON
Illinois Corn Growers Association,        BRACEWELL LLP
Indiana Corn Growers Association,         2001 M Street NW, Suite 900
Kansas Corn Growers Association,          Washington, DC 20036
Kentucky Corn Growers Association,        (202) 828-5800
Michigan Corn Growers Association,        brittany.pemberton@bracewellcom
Missauri Corn Growers Association,        Caunselfor Valero Renewable Fuel,s
and Valero Renewable Fuel,s               Campany, LLC and DiamondAlternati1
Campany, LLC                              Energy,LLC


                                     70
USCA Case #22-1031    Document #1972107         Filed: 11/03/2022   Page 95 of 97



DEVIN WATKINS                              †
                                             Admitted only in Illinois; pending
COMPETITIVE ENTERPRISE                     approval of application for admission
INSTITUTE                                  to the D.C. Bar, practicing law in the
1310LStreet,NW                             District of Columbia under the
Washington, DC 20005                       supervision of principals of the firm
(202) 331-1010                             who are members in good standing of
devin.watkins@cei.org                      the D.C. Bar.

Caunselfor Competitive Enterprise
Institute, Antlwny Kreucher, Walter
M. Kreucher, James Leedy, Marc
Scribner, and Domestic Energy
Producers Alliance




                                      71
USCA Case #22-1031    Document #1972107        Filed: 11/03/2022   Page 96 of 97



                     CERTIFICATE OF COMPLIANCE
      This Brief complies with Federal Rule of Appellate Procedure 32(f) and

(g), along with the Court's September 22, 2022 Order because it contains

14,000 words.

      This Brief also complies with the requirements of Federal Rule of

Appellate Procedure 27(d)(l)(E), 32(a)(5) and (6) because it was prepared in

14-point font using a proportionally spaced typeface.

                                          s/ Jeffrey B. Wall
                                          JEFFREY B. WALL

NOVEMBER 3, 2022
USCA Case #22-1031       Document #1972107         Filed: 11/03/2022   Page 97 of 97



                          CERTIFICATE OF SERVICE

         I hereby certify that, on this 3rd day of November, 2022, I electronically

filed the foregoing Initial Brief for Petitioners with the Clerk for the United

States Court of Appeals for the District of Columbia Circuit using the

appellate CMJECF system. I certify that service will be accomplished by the

CM/ECF system for all participants in this case who are registered CMJECF

users.



                                             s/ Jeffrey B. Wall
                                             JEFFREY B. WALL

NOVEMBER 3, 2022
